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        IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF GEORGIA
                 ATLANTA DIVISION

AMERICAN SPIRIT AND CHEER
ESSENTIALS, INC., ROCKSTAR
CHAMPIONSHIPS, LLC, JEFF &
CRAIG CHEER, LLC, d/b/a JEFF
AND CRAIG CAMPS, and                   CIVIL ACTION
ASHLEY HAYGOOD, Individually           FILE NUMBER:
and on Behalf of all Others
Similarly Situated,
                       Plaintiffs,     CLASS ACTION
                                       COMPLAINT
v.
                                       JURY TRIAL DEMANDED
VARSITY BRANDS, LLC, BSN
SPORTS, LLC, VARSITY SPIRIT
LLC, STANBURY, LLC, HERFF
JONES, LLC, BAIN CAPITAL,
LP, CHARLESBANK CAPITAL
PARTNERS, LLC,VARSITY
BRANDS HOLDING CO., INC.,
VARSITY SPIRIT FASHION &
SUPPLIES, LLC, U.S. ALL STAR
FEDERATION, INC., USA
FEDERATION FOR SPORT
CHEERING, d/b/a USA CHEER,
VARSITY INTROPIA TOURS,
LLC and JEFF WEBB,
                   Defendants.
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3
                We are not filing this lawsuit to be right….

4
                  We are filing this lawsuit to get it right.
5

6

7                              I.    SUMMARY
8
         1.    This is a simple case.       Plaintiffs allege that Defendants
9

10   conspired individually and/or collectively to sell commodities and
11
     services at fixed prices within the United States on the condition that
12

13   the purchasers would refrain from and/or not use U.S. competitors’
14
     commodities or services. They turned the market into a loyal captive
15

16   market through their enterprise of conspiracy to monopolize. Doing so
17
     substantially lessened competition in the flow of interstate commerce.
18

19   More specifically, doing so substantially lessened competition in the
20
     U.S. markets for (1) cheer competitions; (2) recreational and scholastic
21

22   field and sideline cheer; (3) recreational and scholastic athletic
23
     equipment; (4) scholastic band uniforms; (5) scholastic graduation
24

25
     regalia; and (6) cheer camps in violation of 15 U.S.C § 14. Similarly,

26   doing so tended to create monopolies in those markets. With that
27

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3
     monopolistic control, Defendants could and did exact elevated prices

4
     from those markets. As a result, and as bolstered by the example
5
     contained in the attached affidavit(s), people suffered.          Indeed,
6

7    competing suppliers suffered blocks to market access and reduced
8
     earnings while scholastic groups and parents suffered reduced buying
9

10   options and higher commodity prices. Moreover, the scope and duration
11
     of the monopolistic enterprise alleged below shows a clear and present
12

13   danger of continuing and future monopolistic activity and fraud. For
14
     these damages, the Plaintiffs and others similarly situated (the
15

16   “Proposed Classes”) are due just compensation.
17

18

19

20
                     II.   JURISDICTION AND VENUE
21

22   A.   Subject Matter Jurisdiction
23
          2.    This Court has jurisdiction over the subject matter of this
24

25
     action pursuant to:

26        (1)   the Clayton Act, 15 U.S.C. §§ 15 and 26;
27

28
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3
             (2)   the Sherman Act, 15 U.S.C. §§ 1, 2, and 4;

4
             (3)   the   Georgia       Racketeer   Influenced    and     Corrupt
5
                   Organizations (“RICO”) Act, O.C.G.A. §§ 16-14-1(b) and (c);
6

7                  and
8
             (4)   the Federal RICO Act, 18 U.S.C. §§ 1961(b), 1961(c), 1961(d),
9

10                 and 1965(a).
11
     Indeed, Plaintiffs and their Proposed Classes bring this action against
12

13   Defendants under, inter alia, Sections 4 and 16 of the Clayton Act—15
14
     U.S.C. §§ 15(a) and 26—seeking equitable and injunctive relief and
15

16   actual and exemplary damages against Varsity for violating 15 U.S.C.
17
     § 14.
18

19   B.      In Personam Jurisdiction
20
             3.    This Court has in personam jurisdiction over Defendants
21

22   because they, either directly or through the ownership and/or control of
23
     their subsidiaries, inter alia:
24

25
             (1)   transacted business in the United States, including in this

26                 District, by selling their products and services in Georgia
27

28
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3
           and by holding one of the largest competitive cheer

4
           competitions    each   year   in      Atlanta,   Georgia   called
5
           “Cheersport”;
6

7    (2)   directly sold or marketed goods and services throughout the
8
           United States, including in this District;
9

10   (3)   had substantial aggregate contacts within the United
11
           States, including in this District;
12

13   (4)   engaged in an illegal enterprise and conspiracy scheme to
14
           maintain and enhance monopoly power that was directed at,
15

16         and had a direct, substantial, reasonably foreseeable, and
17
           intended effect of causing injury to, the business or property
18

19         of persons and entities residing in, located in, or doing
20
           business throughout the United States, including in this
21

22         District; and
23
     (5)   caused direct, substantial, reasonably foreseeable, and
24

25
           intended anticompetitive effects upon interstate commerce

26         within the United States, including in this District.
27

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                                    4
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     C.   Venue

4
          4.    Venue is proper in this District pursuant to 28 U.S.C. §§
5
     1391 (b), (c), and (d) as well as 15 U.S.C. §§ 15(a) and 22. That is because
6

7    a substantial part of the events giving rise to Plaintiffs’ claims occurred
8
     in this District, a substantial portion of the affected interstate trade and
9

10   commerce discussed below has been carried out in this District, and
11
     Defendants are licensed to do business in, are doing business in, had
12

13   agents in, are found in, or transact business in this District.
14

15

16

17
                                  III. PARTIES
18

19        5.    Plaintiff American Spirit and Cheer Essentials, Inc. is an
20
     apparel company that designs, manufactures, and sells competitive and
21

22   high school uniforms including during the Class Period (defined below).
23
     Plaintiff is incorporated in the state of Oklahoma with its primary place
24

25
     of business in Tulsa, Oklahoma. Plaintiff has been curtailed from selling

26

27

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                                          5
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3
     goods in a competitive market, including this District, due to the actions

4
     of the Defendants and has thus suffered economic harm and damages.
5
          6.     Plaintiff Rockstar Championships, LLC is an independent
6

7    competition producer of cheerleading competitions during the Class
8
     Period. Plaintiff is incorporated in the state of Oklahoma with its
9

10   primary place of business in Oklahoma City, Oklahoma. Plaintiff has
11
     been curtailed from selling services in a competitive market, including
12

13   this District, due to the actions of the Defendants and has thus suffered
14
     economic harm and damages.
15

16        7.     Plaintiff Jeff & Craig Cheer, LLC, d/b/a Jeff and Craig
17
     Camps is an independent producer of scholastic and competitive cheer
18

19   camps during the Class Period. Plaintiff is incorporated in the state of
20
     Oklahoma with its primary place of business in Oklahoma City,
21

22   Oklahoma.     Plaintiff has been curtailed from selling services in a
23
     competitive market, including this District, due to the actions of the
24

25
     Defendants and has thus suffered economic harm and damages.

26

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                                         6
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          8.    Plaintiff Ashley Haygood is a natural person and resident of

4
     the state of Georgia, residing in the Northern District of Georgia. Ms.
5
     Haygood, as the parent of a school child, paid competition entry fees,
6

7    competition admission fees, purchased travel accommodations and
8
     insurance, purchased both competitive and scholastic cheerleading
9

10   uniforms, paid membership fees to USASF, and would be obligated to
11
     pay for cheerleading camps marketed by Varsity during the Class
12

13   Period. She paid an enhanced and inflated purchase price for these
14
     goods, all of which were paid to the Defendants, directly or indirectly,
15

16   and has thus suffered economic harm and damages as a direct and
17
     proximate result of Defendants’ unlawful conduct.
18

19        9.    Defendant Varsity Brands, formerly known as Varsity
20
     Brands, Inc., is a Delaware corporation with its principal place of
21

22   business in Memphis, Tennessee. It is the parent company of
23
     Defendants Varsity Spirit, LLC, BSN Sports, LLC, Herff Jones, LLC,
24

25
     Varsity Intropia Tours, LLC, and Stanbury, LLC.          Varsity Brands,

26   directly and/or through its affiliates, which it wholly owned and/or
27

28
                                         7
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3
     controlled,     manufactured,       distributed,   advertised,   and/or   sold

4
     competition, junior high school, high school, recreation, and/or college
5
     goods and services, including:
6

7         (a)      athletic and cheerleading uniforms, shoes and merchandise;
8
          (b)      team athletic gear;
9

10        (c)      marching band and color guard uniforms and shoes;
11
          (d)      class rings;
12

13        (e)      yearbooks;
14
          (f)      caps, gowns and tassels; and
15

16        (g)      school image branding and construction
17
     throughout the United States, including in this District, at all times
18

19   relevant to this Complaint.
20
          10.      Defendant Varsity Spirit, LLC, formerly known as Varsity
21

22   Spirit Corp., is a Tennessee corporation with its principal place of
23
     business in Memphis, Tennessee. It is listed with the Georgia Secretary
24

25
     of State as doing business in the state of Georgia. Varsity Spirit, directly

26   and/or through its affiliates, which it wholly owned and/or controlled,
27

28
                                             8
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3
     manufactured, distributed, advertised, and/or sold all things in cheer

4
     competition, junior high school, high school, and/or college goods and
5
     services throughout the United States, including in this District, at all
6

7    times relevant to this Complaint.
8
          11.   Defendant BSN Sports, LLC, formerly known as BSN Sports,
9

10   Inc., is a Delaware corporation with its principal place of business in
11
     Farmers Branch, Texas. BSN Sports, directly and/or through its
12

13   affiliates, which it wholly owned and/or controlled, manufactured,
14
     distributed, advertised, and/or sold junior high school, high school and
15

16   college team athletic equipment and uniforms [baseball, football,
17
     basketball, lacrosse, soccer, track, softball, wrestling, cheerleading, and
18

19   volleyball] throughout the United States, including in this District, at
20
     all times relevant to this Complaint.
21

22        12.   Defendant Stanbury, LLC is a Tennessee corporation with
23
     its principal place of business in Brookfield, Missouri. Stanbury, directly
24

25
     and/or through its affiliates, which it wholly owned and/or controlled,

26   manufactured, distributed, advertised, and/or sold college, junior high
27

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3
     school,    and high school marching band uniforms and band

4
     merchandise, throughout the United States, including in this District,
5
     at all times relevant to this Complaint.
6

7         13.   Defendant Herff Jones, LLC, formerly known as Herff Jones,
8
     Inc., is an Indiana corporation with its principal place of business in
9

10   Indianapolis, Indiana. Herff Jones, directly and/or through its affiliates,
11
     which it wholly owned and/or controlled, manufactured, distributed,
12

13   advertised, and/or sold graduation announcements, high school
14
     yearbooks, diplomas, class and championship rings, caps, gowns, and
15

16   tassels throughout the United States, including in this District, at all
17
     times relevant to this Complaint.
18

19        14.   Defendant Bain Capital, LP, is a Delaware corporation with
20
     its principal place of business in Boston, Massachusetts. Bain Capital,
21

22   LP, directly and/or through its affiliates, which it wholly owned and/or
23
     controlled, engaged in the market activity of each Defendant defined
24

25
     above throughout the United States, including in this District, at all

26   times relevant to this Complaint.
27

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                                         10
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           15. Defendant Charlesbank Capital Partners, LLC, is a

4
     Delaware corporation with its principal place of business in Boston,
5
     Massachusetts. Charlesbank Capital Partners, LLC, directly and/or
6

7    through its affiliates, which it wholly owned and/or controlled, engaged
8
     in the market activity of each Defendant defined above throughout the
9

10   United States, including in this District, at all times relevant to this
11
     Complaint.
12

13        16.   Defendant Varsity Brands Holding Co., Inc. is a U.S. holding
14
     company, which owns individually and/or collectively several of the
15

16   Defendant companies named herein above. Defendant Varsity Brands
17
     Holding Co., Inc. directly and/or through its affiliates, which it wholly
18

19   owned and/or controlled, engaged in the market activity of each
20
     Defendant defined above throughout the United States, including in
21

22   this District, at all times relevant to this Complaint.
23
          17.   Defendant Varsity Spirit Fashion & Supplies, LLC is a
24

25
     Minnesota corporation with its principal place of business in Memphis,

26   Tennessee. Varsity Spirit Fashion & Supplies, directly and/or through
27

28
                                         11
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3
     its affiliates, which it wholly owned and/or controlled, manufactured,

4
     distributed, advertised, and/or sold All Star, Recreational, Junior High
5
     School, High School and College Apparel throughout the United States,
6

7    including in this District, at all times relevant to this Complaint.
8
           18.     Defendant Varsity Intropia Tours, LLC is a Tennessee
9

10   corporation with its principal place of business in Memphis, Tennessee.
11
     Varsity Intropia Tours, LLC, directly and/or through its affiliates, which
12

13   it   wholly    owned   and/or   controlled,   manufactured,    distributed,
14
     advertised, and/or sold travel packages throughout the United States,
15

16   including in this District, at all times relevant to this Complaint.
17
           19.     Defendant USASF (United States All Star Federation) is a
18

19   Tennessee non-profit corporation with its principal place of business in
20
     Memphis, Tennessee. USASF, directly and/or through its affiliates,
21

22   which it wholly owned and/or controlled, promulgated and/or enforced
23
     rules governing All Star Competitions and, more broadly, the sport of
24

25
     All Star cheer and dance throughout the United States, including in this

26   District, at all times relevant to this Complaint. Moreover, USASF,
27

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                                         12
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     directly and/or through its affiliates, which it wholly owned and/or

4
     controlled, organized, promoted, and/or managed All Star Competitions
5
     throughout the United States, including in this District, at all times
6

7    relevant to this Complaint.
8
          20.   Defendant USA Federation for Sport Cheering, d/b/a USA
9

10   Cheer, is a non-profit corporation with its principal place of business in
11
     Memphis, Tennessee. USA Cheer, directly and/or through its affiliates,
12

13   which it wholly owned and/or controlled, promulgated and/or enforced
14
     rules governing All Star and scholastic competitions and, more broadly,
15

16   the sport of ALL Star cheer and scholastic cheer throughout the United
17
     States, including in this District, at all times relevant to this Complaint.
18

19   Moreover, USA Cheer, directly and/or through its affiliates, which it
20
     wholly owned and/or controlled, organized, promoted, and/or managed
21

22   All Star and scholastic competitions throughout the United States,
23
     including in this District, at all times relevant to this Complaint.
24

25
          21.   Defendant Jeff Webb is a natural person residing in

26   Memphis, Tennessee with an office located at the Varsity headquarters,
27

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                                         13
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3
     6745 Lenox Center Court, Suite 300, Memphis, Tennessee 38115. Jeff

4
     Webb directly and/or through the above-named Defendants, conspired
5
     for many years and engaged in the market activity of most of the
6

7    Defendants defined above throughout the United States, including in
8
     this District, at all times relevant to this Complaint.
9

10        22.      The above-named defendants agreed and cooperated to
11
     employ the monopolistic enterprise as described below. Consequently,
12

13   the term “Varsity” shall hereinafter refer to Defendants, individually
14
     and/or collectively acting in conspiracy to effectuate the illegal
15

16   monopolistic enterprise described below.
17

18

19

20                         IV.   BACKGROUND STORY
21   A.   History of the Varsity Monopoly Enterprise
22
          23.      The   following   is   a    highlight   of   relevant   history
23

24   demonstrating the growth and entrenchment of Varsity’s monopolistic
25
     enterprise:
26

27

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                                          14
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3
          24.   Lawrence Herkimer, founded the National Cheerleaders

4
     Association (“NCA”) in 1948.
5
          25.   Defendant Jeff Webb, Varsity’s founder and former CEO,
6

7    went to work at the NCA after completing his cheerleading career at the
8
     University of Oklahoma in the late 1960’s.
9

10        26.   In 1974, Webb left NCA to form his own cheerleading
11
     business, the Universal Cheerleaders Association (“UCA”), which was
12

13   similar to the NCA (National Cheerleading Association) but with
14
     Webb’s own added twists: more focus on gymnastics-like skills and new
15

16   competitions created solely for cheer squads.
17
          27.   In 1980, Jeff Webb and Kris Shepard create UDA, the
18

19   Universal Dance Association.
20
          28.   In 1987, the American Association of Cheerleading Coaches
21

22   and Advisors (AACCA) is founded as the safety certifying group for the
23
     cheerleading industry.      Shortly thereafter, Varsity applies for
24

25
     trademark ownership of AACCA.

26

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                                        15
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          29.    In 1989, Varsity acquires Varsity Spirit Fashions &

4
     Supplies.
5
          30.    In 1994, Varsity acquires United Spirit Association (USA)
6

7    cheer camps.
8
          31.    In 1994, Varsity acquires Intropia International Tours/USA,
9

10   Inc. from Elisabeth Polsterer. Intropia specializes in group trips for
11
     cheerleaders, bands, choirs, orchestras, dance and theater groups, and
12

13   other school-affiliated or performing groups which tour in the
14
     continental United States, Hawaii, Canada, Europe and Israel.
15

16        32.    In 1995, American Cheerleading Magazine was established
17
     which was later acquired by Varsity.
18

19        33.    In 1996, Jamin Spirit Productions (JamBrands) was
20
     incorporated and eventually would be purchased by Varsity.
21

22        34.    In 1996, Varsity acquires United Special Events, Inc., a large
23
     California cheerleading camp from its founder Mr. Michael Olmstead
24

25
     for $1.95 Million.

26

27

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                                         16
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          35.   Prior to 1987, the NCA placed All Star teams into the same

4
     divisions as teams that represented schools and sports leagues. In 1986,
5
     the NCA created a separate division for teams lacking a sponsoring
6

7    school or athletic association, calling it the All Star Division and
8
     debuting it at its 1987 cheer competitions. As the popularity of this type
9

10   of “All Star” team grew, more and more of them were formed, attending
11
     competitions sponsored by many different organizations and companies,
12

13   each using its own set of rules, regulations, and divisions.
14
          36.   Webb’s new business, UCA, ultimately became Varsity, and
15

16   soon outgrew its only rival, Herkimer’s NCA. Varsity later in 2004
17
     acquired NCA.
18

19        37.   In 1997, Varsity announces extension of agreements with
20
     Walt Disney Company and ESPN.
21

22        38.   In 1997, Kevin Brubaker creates Cheersport which would
23
     grow to be one of the biggest and premier cheerleading competition
24

25
     events in the United States and is held each year in Atlanta, Georgia

26   with over 40,000 cheerleaders attending.
27

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                                        17
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3
          39.   In 1997, cheerleading continued to grow.               Varsity

4
     cheerleading camps in 1997 were attended by approximately 206,000
5
     participants.
6

7         40.   In 1997, Riddell acquires Varsity Spirit Corp. and
8
     subsidiaries for $91M,Varsity Management pays $4.4M for remaining
9

10   outstanding stock, Jeff Webb (President/CEO of Varsity) becomes Vice
11
     Chair of the Company and a Board member, Riddell Group Division
12

13   controls sports products and trademark licensing segments while the
14
     spirit segment is conducted through the Varsity Group Division.
15

16        41.   In 2003, the USASF (United States All Star Federation) is
17
     established. USASF’s trademark, domain name and offices are all
18

19   Varsity owned. It is widely known that the USASF was formed to force
20
     out the newly established NACCC (National Allstar Cheerleading
21

22   Coaches Congress). The NACCC was the first attempt by All Star cheer
23
     coaches to govern themselves and to develop their own universal set of
24

25
     rules and consisted of coaches from all over the United States. Within

26

27

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                                        18
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3
     a few short years the NACCC was taken over by the Varsity run USASF

4
     and the NACCC was then dissolved by Jeff Webb and the USASF.
5
          42.   In 2003, Varsity TV.com is registered.
6

7         43.   In 2003, Varsity enters into a strategic alliance with the
8
     National Federation of State High School Associations. Varsity pays
9

10   close to $3M until 2010 (future contracts to be determined) in exchange
11
     for the Federation endorsing Varsity’s cheerleading/dance team
12

13   championships. In addition to these fees, Varsity will pay NFSHSA
14
     contingent fees based on membership (AACCA) and participant
15

16   increases over an established base level.
17
          44.   In 2003, cheerleading coaches formed an independent
18

19   501(c)(3) organization, called the National All Star Cheerleading
20
     Coaches Congress (NACCC), to establish uniform rules for All Star
21

22   Cheer. Varsity, along with the NCA, Cheersport, and America’s Best,
23
     created the USASF with the same goal of setting uniform rules and
24

25
     judging standards for All Star Competitions.

26

27

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                                        19
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3
          45.   In 2003, the National All Star Cheerleading Coaches’

4
     Congress was formed by 5 coaches (Jamie Parrish, Joelle Antico, Elaine
5
     Pascale, Victor Rosario, and Kristen Rosario). It was an organization
6

7    open to all event producers (Varsity and non-Varsity alike) as well as all
8
     coaches and gym owners. The group met in Atlanta, and assembled,
9

10   and voted in the first set of universal All Star cheerleading rules.
11
          46.   This was seen by Varsity as a threat. So much so, that they,
12

13   formed, created, and funded the USASF in less than a week of the
14
     NACCC gathering to compete with the NACCC. They obtained “buy
15

16   in” from prominent gym owners by providing fully paid trips for teams
17
     to attend the first ever World Championships in Orlando.
18

19        47.   Varsity outspent the NACCC, recruiting key members of the
20
     organization such as Morton Bergue, and introduced the “bid” model to
21

22   the World Championships to force compliance from gym-owners.
23
          48.   Several    years    later,   after   being    pummeled       by
24

25
     Varsity/USASF, the founding members of the NACCC were forced to

26   allow the USASF to absorb NACCC. The USASF agreed that the
27

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                                        20
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3
     NACCC would become the “rules committee” of the USASF in

4
     perpetuity as an olive branch. This meeting was held in Memphis in
5
     the boardroom of Jeff Webb, and the meeting was run by Jeff
6

7    Webb. Varsity claims that the USASF is totally independent and
8
     separate from Varsity. This is false. If Varsity does not “run” the
9

10   USASF, then why did Jeff Webb run this merger meeting? How was he
11
     able to “make a deal” on behalf of the USASF with no USASF board
12

13   present?
14
          49.      However, in just a few years after the merger, the NACCC
15

16   was dissolved by Varsity, and all rules changes/decisions went back to
17
     being made by the Varsity controlled USASF board. Thus, keeping
18

19   Varsity’s control of the trajectory of the sport of All Star cheerleading
20
     void of any transparency, fair representation, or gym-owner/coach
21

22   input.
23
          50.      Defendant USASF acquired NACCC in 2005. USASF claims
24

25
     to be completely independent but is beholden to Varsity as its board and

26   votes are stacked with employees from Varsity, or coaches that directly
27

28
                                           21
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3
     benefit from Varsity’s Network agreements and/or Family Plan rebate

4
     programs. Because they receive this rebate (kickback), they are loyal to
5
     Varsity. USASF hosts the Worlds (which is one of the top three major
6

7    competitions) which was held for the first time on April 24, 2004.
8
          51.   USASF has always been captive to Varsity. Varsity funded
9

10   the USASF at its inception with a $1.8 million interest-free loan.
11
     USASF previously shared a corporate address with Varsity. Varsity
12

13   owned the USASF trademarks until 2017. Until recently, USASF
14
     employees worked at Varsity’s headquarters in Tennessee, and
15

16   USASF’s office is currently still mere miles away from Varsity’s
17
     headquarters.
18

19        52.   For at least some period of time, USASF’s and Varsity’s
20
     finances were intermingled such that the USASF employees received
21

22   their paychecks from Varsity. In accordance with the explicit bylaws of
23
     USASF, a permanent majority of USASF’s voting board members are
24

25
     allocated to seven All Star Competition brands (UCA, CheerSport, NCA,

26

27

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                                        22
           Case 1:20-cv-03088-SCJ Document 1 Filed 07/24/20 Page 27 of 132



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3
     USA, American Cheerleaders Association, Universal Dance Association,

4
     and JAMFest). Varsity currently owns all of these brands.
5
          53.   In 2004, Inside Cheerleading Magazine was founded.
6

7         54.   In 2004, Varsity acquires National Spirit Group.
8
          55.   In 2006, Varsity TV starts production. Varsity requires each
9

10   event participant to sign an entry waiver allowing the filming and
11
     distribution to be owned by Varsity while VTV sells promo advertising
12

13   to Gatorade, etc.
14
          56.   In 2006, Ozone, maker and seller of All Star cheerleading
15

16   and gymnastics uniforms, is established which is later bought by
17
     Varsity.
18

19        57.   In 2007, Varsity Brands establishes USA Cheer (USA
20
     Federation for Sport Cheering) in Texas.
21

22        58.   In 2007, Varsity Brands establishes ICU (International
23
     Cheer Union) to move towards cornering the international market.
24

25
          59.   In 2008, Varsity Brands’ Sr. VP Bill Boggs sends restrictive

26   “exclusivity” email to college coaches:
27

28
                                         23
           Case 1:20-cv-03088-SCJ Document 1 Filed 07/24/20 Page 28 of 132



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3
       “After much thought and deliberation and based on a number of

4      factors, NCA/ NDA (Varsity) is initiating a new policy related to
5      College Nationals: Due to TV, admin concerns regarding school-
6      based    priorities,   image   and    funding,    and   sponsorship
7      considerations, teams that compete in NCA/NDA College
8
       Championships may not be eligible to participate in any other
9
       event promoted as a cheer or dance “national championship.”
10
          60.   NOTE: This is a for-profit company dictating which
11

12   competitions college teams may enter.
13
          61.   In 2008, NCAA changes its insurance policy for cheerleading
14

15   clubs/teams on campuses—it will no longer provide catastrophic
16
     insurance. Varsity then sells (through NCAA) three (3) separate
17

18
     insurance policies for university purchase, administered by Varsity, but

19
     with limitations that only insures teams attending Varsity competitions
20
     and no others.
21

22        62.   In 2008, IEP (Independent Event Producers) created by eight
23
     (8) independent companies meet in New Orleans to discuss forming an
24

25   organization to strengthen their independence and competition in the
26
     market place that is being dominated by Varsity. Those IEP’s were
27

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                                        24
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3
     Mardi Gras—later Varsity acquired, UPA Cheer & Dance—later

4
     Varsity acquired, Cheer America, Pac West—later Varsity acquired,
5
     WSA, Spirit Celebration—later Varsity acquired, Champion Cheer—
6

7    later Varsity acquired, and Cheer Ltd—later Varsity acquired. The
8
     IEP’s devised a mission statement, goals, organization structure, and
9

10   initial plan in 2008 but most IEP’s were eventually purchased by
11
     Varsity.
12

13        63.   In 2010, Varsity acquires Just Briefs only to close it despite
14
     hiring CEO Tish Reynolds as part of the purchase. Varsity has a history
15

16   of buying up competitors and simply disbanding them to eliminate
17
     competition.
18

19        64.   In 2010, Varsity, a for-profit company, informs all colleges by
20
     email that any college who competes in NCATA (National Collegiate
21

22   Acrobatic & Tumbling Association) format and continues to compete in
23
     Acro & Tumbling, will not be able to attend the Varsity sponsored/owned
24

25
     college nationals.

26

27

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3
             65.   In 2011, Varsity merges with Herff Jones, a leading

4
     manufacture/publisher of scholastic and educational products such as
5
     class    rings,   diplomas,   yearbooks,   caps   &    gowns,   graduation
6

7    announcements, etc.
8
             66.   In 2011, the USASF (run by Varsity) and Jim Chadwick
9

10   issued a letter to all 1,200 members banning them from attending any
11
     non Varsity competition alleging to be a “World/International” or
12

13   “Worlds” competition except for the world/international competitions
14
     (ICU) run or sponsored by Varsity. ICU and Karl Olson issue letters to
15

16   all 101 plus member federations banning entry into any and all IFC
17
     (International Federation of Cheer) competitions.
18

19           67.   In 2012, Varsity enters the cheer magazine industry by
20
     purchasing American Cheerleader magazine and ceases advertising in
21

22   any competing magazine. Without advertising dollars, a competing
23
     magazine called “The Cheerleader Magazine” is forced out of business.
24

25
             68.   In 2012, Varsity Spirit Corp. merges with Varsity USA, VBI

26   Ventures, Varsity/Intropia Tours, USA.
27

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          69.   In     2012,    Varsity    acquires   Cheersport      (includes

4
     Cheerlogistics and Universal Spirit).     This includes the Cheersport
5
     competition held annually in Atlanta at the World Congress Center and
6

7    attended by over 40,000 cheerleaders making it one of the largest
8
     competitions held each year. This also includes Cheersport TV and over
9

10   30 other competition events.
11
          70.   In 2012, Varsity cancels its relationship with an athletic
12

13   shoes/sneaker company called Nfinity (approximately 40% of Nfinity’s
14
     business) and announces that it will be manufacturing and selling its
15

16   own brand of athletic shoes/sneakers.
17
          71.   In 2012, Varsity announces via a letter from employee Les
18

19   Stella to all USASF members that:
20
       “While USASF generates revenue to support the organization and
21
       to repay Varsity’s loan over time, it lacks resources to administer
22
       The Cheerleading and Dance Worlds and appreciates Varsity’s
23
       support of more than 300 staff including tournament officials,
24

25
       logistical personnel, registration staff, TV liaisons, translators and

26     international     visa   administrators,   and    other    necessary
27     administrative and operational functions. Also, without Varsity’s
28
                                          27
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3
       support, USASF would not be able to provide the same level of

4      benefits it now does to full time staff members.”
5    This letter is sent to justify why Varsity is running the cheerleading
6
     sport rule-making body that governs cheerleading and is supposed to be
7

8    totally independent.
9
          72.   In 2013, the ICU issues another ban to coaches, judges and
10

11   athletes declaring that they cannot enter IFC (a world governing body)
12
     competitions and publishes a list of offending “prohibited” coaches,
13

14
     judges and athletes.

15        73.   In 2013, USA Cheer Board of Directors: 15 votes, 4 dedicated
16
     for National Alliance for School Cheerleading (NASC)—(NASC has no
17

18   discovered tax structure), 3 votes dedicated for AACCA, 3 votes for
19
     USASF, 4 for NASC, 3 for athletes, 1 for high school, 1 for NCAA
20

21   (unfulfilled)— 9 out of 14 (one unfulfilled position, NCAA) filled by
22
     Varsity affiliated company reps or employees.
23

24        74.   In 2013, GrowCheer.org is formed by a group of unrelated
25
     industry companies (non Varsity owned or operated) with a singular
26

27   purpose—to grow the sport of cheerleading announcing:
28
                                        28
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3
       “We believe the first (and most important) step in fostering

4      future growth in our sport is a FREE and INDEPENDENT
5      USASF.”
6         75.    Cheer Zone ™, GK Elite Sportswear, LP, GTM Sportswear,
7
     Inc., Motionwear, LLC, Nfinity Athletic LLC, Rebel Athletic™, and
8

9    Team Cheer™ comprise the organization. GrowCheer.org then submits
10
     proposals to USASF outlining the need to separate from Varsity and be
11

12   independent and offering to have GrowCheer.org companies to assume
13
     all debt to Varsity on loan to the USASF for accomplishing this
14

15   independence.
16
          76.    Varsity Public Relations VP, Ms. Sheila Noone, not the
17

18
     USASF, responds to GrowCheer.org’s request for independence with no

19
     response from USASF as follows:
20
          “Everything Varsity does is with an eye towards what is best
21

22   for the young athletes we serve. No one has more of an interest in
23   growing all disciplines of cheerleading than Varsity, and we feel we
24   have been a strong partner to the USASF and its members”
25        77.    In 2013 UCA (Varsity company) issues banning statement:
26

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3
       “It is understood that teams participating in World University

4      Cheerleading Championships will not knowingly and willingly
5      participate in any other event promoted as a ‘World University
6      Cheerleading Championships’. (Exception: Approved multi-sport
7      international events congruent with the World University
8
       Cheerleading Championships and International Sport Authority
9
       organizations). Teams who do not adhere will be disqualified for
10
       the 2013 World University Cheerleading Championships and will
11
       forfeit the opportunity to participate in the tournament the
12
       following year.” Basically, Varsity is dictating to all teams that
13

14
       they are to only compete in Varsity sponsored or owned events.

15        78.   World University Championships Trademark owned by
16
     Varsity.
17

18
          79.   In 2013, Herff Jones (owned by Varsity) purchases for $460

19
     M and merges with BSN Sports (manufacturer of all athletic sports
20
     uniforms and equipment, such as football, baseball, softball, track,
21

22   basketball, lacross, volleyball, soccer, wrestling and cheerleading) for all
23
     College, High School and Junior High Schools.
24

25        80.   In 2013, Varsity realizes that the lower level cheerleading
26
     teams need an end of the year championship and creates The Summit
27

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                                         30
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3
     competition to fill this void and to further limit competition from the

4
     independent (non Varsity) event production companies that specialize
5
     in this market.
6

7         81.   In 2013, BSN (Varsity owned) acquires team division of Todd
8
     & Moore Sporting Goods, Inc.
9

10        82.   In 2013, BSN acquires Spokane Athletic Supply.
11
          83.   In 2013, BSN acquires Kohlmyer Sporting Goods.
12

13        84.   In 2013, AACCA reports membership of over 70,000
14
     cheerleading and dance coaches across the United States.
15

16        85.   In 2013, the USASF announces that they intend to move
17
     their current offices from Varsity headquarters in Memphis to an office
18

19   building a few miles away from Varsity. This never happens until
20
     several years later.
21

22        86.   In 2013, the USASF changes their membership application
23
     for yearly membership to include email addresses, addresses, phone
24

25
     numbers, and birth certificates all stored on an unsecured site and

26

27

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3
     shares this information with Varsity allowing Varsity incredible sales

4
     marketing information not available to their competitors.
5
          87.   In 2013, BSN and Pop Warner Little Scholars announce a
6

7    partnership.
8
          88.   In 2014, BSN acquires East Texas Sports Center, Inc.
9

10        89.   In 2014, BSN acquires Olympia Sporting Goods, Inc.
11
          90.   In 2014, BSN acquires Judge Little Co.
12

13        91.   In 2014, Varsity acquires Cheer Limited and its large
14
     competitions   and    prestigious   events   including    Open    College
15

16   Championships and its High School Invitational. One of the largest
17
     such events is Canam in Myrtle Beach, SC with 5,000 athletes and over
18

19   12,000 spectators.
20
          92.   In 2014, Varsity/Herff Jones rebrands to “Varsity Brands”
21

22   and announces Jeff Webb as its CEO.
23
          93.   In 2014, BSN acquires F & F Sport Shop, Inc.
24

25
          94.   In 2014, Herff Jones/Varsity Brands explores sale of the

26   entire company at a cost of $1B.
27

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          95.   In 2014, BSN acquires Westside Team Sports, LLC.

4
          96.   In 2014, Varsity enters into preliminary discussions to be
5
     purchased for $1.5 B from an investment group led by Charlesbank
6

7    Capital Partners.
8
          97.   In 2015, Varsity acquires JamBrands (their largest
9

10   remaining independent competition event producer).
11
          98.   In 2015, BSN acquires Ultimate Team Sales.
12

13        99.   In 2015, Varsity acquires allgoods, LLC, a $38B Texas fund
14
     raising company (one of the largest and fastest growing apparel-
15

16   oriented fundraising companies in US).        This acquisition expands
17
     Varsity Brands’ ability to provide schools and league teams a
18

19   comprehensive, turn-key fundraising and spirit solution for more than
20
     16,000 teams across the country and will be poised to grow substantially
21

22   as part of Varsity Brands.
23
          100. In 2016, Cheerleaders from Clemson and Alabama showcase
24

25
     Varsity Brands uniforms. Webb says Varsity partners with schools by

26   helping with signage and branding (offering one stop shop sales
27

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3
     approach for everything that the school needs for sports, band and

4
     scholastic rings, yearbooks caps and gowns, etc.). Webb creates deeper
5
     purchasing ties (exclusive sales agreements) between Varsity and
6

7    schools, not just cheerleading teams. These exclusive sales agreements
8
     are meant to push competitors out of the market and could possibly
9

10   violate NCAA athlete eligibility rules. Varsity partners with Largo
11
     High School in Holiday, Florida for rebranding as an example.
12

13        101. In 2016, BSN acquires Lid Team Sports from Genesco, Inc.
14
          102. In 2016, BSN acquires Jerry’s Sporting Goods.
15

16        103. In 2016, BSN acquires Idaho Sporting Goods.
17
          104. In 2016, Varsity and Disney agree to build a competition
18

19   facility located at Walt Disney World Resort’s ESPN Wide World of
20
     Sports venue.
21

22        105. In 2016, Varsity enters an 8-year agreement with FloSports
23
     to provide live streaming coverage of The Cheerleading Worlds™ and
24

25
     The Dance Worlds™ on FloCheer.com. Users must sign up to become

26   FloPRO subscribers for monthly/annual subscriptions of $29.99 and
27

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                                        34
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3
     $149.99, respectively. Competitors are required to sign a competition

4
     entry form waiver giving Varsity exclusive rights to their image via
5
     video, including gym school protected logos.
6

7         106. In 2016, BSN acquires Steadman’s Sports Center in Los
8
     Angeles.
9

10        107. In 2016, BSN acquires S & S Sports Center in Los Angeles.
11
          108. In 2017, BSN acquires Marlow Sports, Inc.
12

13        109. In 2017, BSN acquires the team division of Erie Sports Store
14
     in Pa.
15

16        110. In 2017, Varsity acquires Spirit Celebrations which was a
17
     competitor as a cheerleading/dance independent event producer for over
18

19   the past 19 years established by Billy Roy Smith.
20
          111. In 2017, BSN acquires Lowe’s Sporting Goods in Kentucky.
21

22        112. In 2017, BSN acquires Kimmel’s Athletic Supply in
23
     Washington.
24

25
          113. In 2017, BSN acquires Newberry Sporting Goods in Ohio.

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3
          114. In 2017, Varsity enters into an exclusive agreement with

4
     Rock Your Hair, a California based company with popular hair products
5
     used in the cheer industry.
6

7         115. In 2017, BSN acquires Athlete’s World/Stadium Sports in
8
     west Texas.
9

10        116. In 2017, BSN acquires Academy Sports in UT.
11
          117. In 2017, Varsity enters into an exclusive agreement with
12

13   Fancy Face Cosmetics, a Chicago based company with popular cosmetic
14
     products used largely in the cheer industry.
15

16        118. In 2017, Varsity creates the Impact Program to sell a
17
     rebranding product to Colleges, High Schools and Junior High Schools.
18

19   John Newby heads the program.
20
          119. In 2017, Varsity transfers trademark rights to USASF
21

22   because USAF satisfies its loan.
23
          120. In 2017, Varsity Spirit promotes Bill Seely to President and
24

25
     he also remains president of USA Cheer.

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3
          121. In 2017, Varsity initiates VIP Branding (school banners,

4
     window banners, etc.). SpiritWorks (St. Jude fundraising project) to sell
5
     additional products to schools.
6

7         122. In 2017, Varsity publishes Video Media Policy.          No live
8
     streaming or commercial recording allowed or face disqualification.
9

10   Within 24 hours, Varsity re-states policy is to protect athletes from
11
     professionals creating unauthorized recordings for commercial purposes
12

13   or financial gain.     Varsity then uses videos of competitions for
14
     commercial purposes and financial gain through their exclusive
15

16   ownership of recording rights. (i.e. Varsity obtains a release from all
17
     athletes, sells the competition video to the general public for financial
18

19   gain, and follows music industry regulations regarding music rights.
20
     Varsity presents video with no music, allegedly avoiding a lawsuit by
21

22   the music industry).
23
          123. In 2017, Varsity acquires Mardi Gras, an independent event
24

25
     producer and original member of IEP (Independent Event Producers).

26

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3
          124. BSN (Varsity) acquires partial assets of Hibbett Team Sales,

4
     distributor of team apparel and equipment in Al, Ga., and Fl.
5
          125. In 2018, Varsity acquires Team Epic Brands, an independent
6

7    event producer with eleven (11) event brands and companies offering
8
     170 plus competition events in 32 different states.
9

10        126. In 2018, BSN acquires Gulf Coast Athletic Supply based in
11
     Sugar Land, Tx.
12

13        127. In 2018, BSN acquires NY and NJ based DC Sports, Inc., a
14
     distributor of team apparel and goods in NY, NJ, CT and RI.
15

16        128. In 2018, BSN acquires Midwest Sportswear & Athletic
17
     Supply based in International Falls, MN, a distributor of team apparel.
18

19        129. In 2018, BSN acquires Reynolds Team Sales based in
20
     Pittsfield, MA, a distributor of team apparel in MA, CT and NJ.
21

22        130. In 2018, Varsity transfers trademark rights to AACCA.
23
     Then AACCA and USA Cheer join forces and AACCA is dissolved in TN.
24

25
          131. In 2018, BSN acquires Kelly’s Sports, LTD in PA.

26

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3
          132. In 2018, it is announced that Varsity Brands and

4
     subsidiaries are to be acquired in a sale to Bain Capital for over $2B.
5
          133. In 2018, Varsity Brands and Go FundMe announce an
6

7    exclusive partnership to provide a social fundraising solution for
8
     America’s schools and sports teams.
9

10        134. In 2018, BSN acquires TEAMLINE, LTD in TX.
11
          135. In 2018, Varsity announces a partnership with BAND, an
12

13   app for mobile communication.
14
          136. In 2018, Varsity acquires Jeff Sporting Goods in Port
15

16   Jefferson, NY.
17
          137. In 2018, Play On! Sports (a joint venture between 2080
18

19   Media, a Jeff Webb partner, and Nat’l High School) acquires The Cube
20
     announcing:
21

22     “Creating largest single destination to watch live high school
23     sports broadcasts at www.NFHSNetwork.com. Acquisition of The
24     Cube and its 4,000-plus schools that broadcast high school sports
25     events—more than 100,000 events will be streamed live on NFHS
26     Network during 2018-19 school year. NFHS Network, joint
27

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3
       venture between National Federation of State High School

4      Associations (NFHS), its member state high school associations
5      and PlayOn! Sports, now in its fifth year of covering high school
6      sports on its digital network. More than 2,000 high schools
7      broadcast events on NFHS Network through its School Broadcast
8
       Program. NFHS Network is also home to state high school playoffs
9
       and championships across the country”
10
          138. In 2019, it is printed in the Investor’s Business Daily that
11

12   Varsity Brands’ annual revenues exceed $1.35 billion with more than
13
     4,000 full-time employees according to the company. Webb is currently
14

15   Varsity Brands’ chairman; 330,000 athletes in teams attend over 4,000
16
     Varsity Spirit cheerleading training camps each summer; Varsity Spirit
17

18
     puts on over 600 cheerleading competitions across the country annually,

19
     with 900,000 participants; Varsity has partnered with Disney for 25
20
     years and hosts nearly 90,000 athletes at seven of Varsity Spirit's most
21

22   premier events at Walt Disney World Resort in Orlando, FL; for 35
23
     years, Varsity Spirit partners with ESPN to broadcast their
24

25   cheerleading competitions around the world, reaching over 100 million
26
     homes, and 32 countries annually.
27

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3
           139. In 2019, the USASF mandates that all members take a

4
     SafeSport course for $20.
5
           140. In 2019, BSN acquires Sports Page Team in Pella, IA.
6

7          141. In 2019, Varsity Spirit acquires Director’s Showcase
8
     International (DSI), a wholesale distributor of marching band
9

10   accessories and color guard equipment globally through an exclusive
11
     dealer network giving them a presence in every state and 12 countries.
12

13         142. In 2019, BSN acquires Naperville’s Janor Sports serving
14
     Chicago, IL.
15

16         143. In 2019, BSN acquires Team Division of Johnny Mac’s based
17
     in St. Louis, MO serving MO, IL and MI.
18

19         144. In 2019, BSN acquires H & L Sporting Goods in Everett, WA.
20
           145. In 2019, BSN acquires T & T Sportman’s Shop in Charleston,
21

22   SC.
23
           146. In 2019, BSN acquires Legacy Team Sales, one of the largest
24

25
     distributors of team sports apparel and equipment in central Florida.

26

27

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3
          147. In 2019, USA Cheer promotes STUNT as an NCAA emerging

4
     sport.
5
          148. In 2019, BSN acquires Key Sport in Rolla, MO.
6

7         149. In 2019, a group of cheer gym owners call a meeting in Miami
8
     to bring an agenda to light regarding the many issues still plaguing the
9

10   cheer industry—calling for those that want change to email a complaint
11
     to antitrust@FTC.gov.
12

13        150. In 2019, Varsity launches a new brand, Varsity Pro, focused
14
     on NBA and NFL professional dance/cheer teams. Varsity Pro will offer
15

16   pro dance teams custom, performance ready routines from a team of
17
     talented choreographers as well as uniforms.
18

19        151. In 2019, Varsity launches a new division, Varsity Performing
20
     Arts to serve the performing arts community, including marching
21

22   bands, pep bands, color guards and percussion groups. It will offer new
23
     training camps and competition experiences to schools and performers
24

25
     nationwide.

26        152. In 2019, BSN acquires Hillock Sports, LLC in Murray, UT.
27

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                                           42
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3
          153. In 2019, Varsity acquires Stanbury Uniforms, a 100-year-old

4
     Missouri company and leading provider nationwide of band apparel.
5
          154. In 2019, Varsity acquires SA Feather Co., a wholesale
6

7    feather goods supplier and premier manufacturer of marching band
8
     plumes.
9

10        155. In 2019, BSN acquires David Bowen Sporting Goods in
11
     Pensacola, FL.
12

13        156. In 2019, Varsity’s yearly revenue tops $2 billion.
14
          157. In 2019, BSN acquires Wayne Sporting Goods in Wayne, PA.
15

16        158. In 2020, BSN acquires strategic assets from Riddell’s College
17
     Town Division.
18

19        159. In 2020, BSN acquires Key Business Lines from Longstreth
20
     Sporting Goods.
21

22        160. In 2020, BSN acquires Athletics Unlimited in Sacramento,
23
     CA, a team supplier in CA and NV.
24

25
          161. In 2020, BSN acquires Nill Brothers Sports that serves

26   Kansas and MO.
27

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                                       43
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3
          162. In 2020, Varsity partners with CaptainU, a self managed

4
     recruiting software tool (app) that connects high school athletes with
5
     college coaches.
6

7         1.    The Competition Cheerleading Monopoly
8
          163. There are three recognized “end of season” championships
9

10   for competition All Star Cheerleading: Worlds, The Summit, and the
11
     U.S. Finals. The Summit, and U.S. Finals are owned, produced, and
12

13   promoted by Varsity. The Worlds is owned, produced, and promoted by
14
     USASF with sponsorship from Varsity who then controls and runs the
15

16   competition. The Worlds is held at Disney World every April for the best
17
     All Star teams. While a scattering of teams from other countries attend
18

19   the event, the teams from the United States have largely dominated
20
     attendance at the competition.
21

22        164. The Summit is also held in Disney World every year typically
23
     at the beginning of May for levels 1 thru non-worlds level 5 teams.
24

25
     Worlds is available to only level 5 and 6 senior and open teams which

26   are the more skilled teams.
27

28
                                        44
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3
          165. “Bids” are highly coveted formal invitations to compete in

4
     these All Star championships. All Star teams cannot attend the All Star
5
     championships    without   one.   Thus,   earning    bids   to   All    Star
6

7    championships (particularly Worlds), and ultimately succeeding at
8
     those All Star championships, is the primary goal of All Star teams. All
9

10   Star teams earn these bids by attending and succeeding at All Star
11
     competitions. Success at attaining these bids at these events correlates
12

13   to whether or not a gym can be successful and attract cheerleaders to
14
     their gym.
15

16        166. Bids can be fully paid which, as the name implies, means the
17
     All Star competition producer (Varsity) pays the All Star teams’s entry
18

19   fees and all travel and hotel costs; partially paid, meaning the All Star
20
     competition producer (Varsity) pays only a partial amount (typically
21

22   covering entry fees but not travel or hotel costs); or at-large, meaning
23
     that the All Star team can compete but must pay its own way. All Star
24

25
     competition producers with the rights to confer the bids determine how

26   those bids are awarded. Typically, fully paid bids are awarded to first
27

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                                        45
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3
     place winners of major USASF-sanctioned All Star competitions.

4
     Partially paid and at-large bids are earned by the All Star teams at
5
     those same USASF-sanctioned All Star competitions.
6

7         167. USASF, under the control of Varsity, decides which All Star
8
     competitions have the right to award bids to Worlds. Varsity and
9

10   USASF severely restrict competition in the All Star competition market
11
     by limiting the number of All Star competitions that can produce bids to
12

13   Worlds at 42. Varsity owns 33 of these All Star competitions with the
14
     right to award bids to Worlds. USASF also allocates the number of bids
15

16   that each of those 42 All Star competitions may award, and each All
17
     Star competition may award 2 to 8 bids. USASF has awarded Varsity
18

19   the vast majority, so Varsity controls 80% of Worlds’ bids.
20
          168. Varsity decides which All Star competitions have the
21

22   authority to award bids to The Summit and the U.S. Finals. Varsity uses
23
     its market dominance to restrict competition by allocating 100% of The
24

25
     Summit and U.S. Finals bids exclusively to the All Star competitions it

26   owns and operates.
27

28
                                        46
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3
          169. Varsity uses its dominance of the All Star competition

4
     market, its control of USASF, and its control of All Star championship
5
     bids, combined with the other conduct that is part of the exclusionary
6

7    scheme, to ensure that All Star teams will attend Varsity’s entry-level
8
     All Star competitions rather than those owned and produced by
9

10   Varsity’s competitors (IEP’s, Independent Event Producers).
11
          170. USASF is a “member” of USA Cheer. USA Cheer shares its
12

13   address and telephone number with Varsity and does not have any
14
     employees. Instead, it contracts with Varsity Spirit to use Varsity’s
15

16   employees as needed. The USA Cheer President, Bill Seely, is also the
17
     President of Varsity Spirit. Two of the three USASF Vice Presidents and
18

19   the Executive Director are current and former Varsity employees.
20
          171. According to USA Cheer, “most” All Star gyms, All Star
21

22   teams, and All Star competitions “are under the umbrella of” USASF,
23
     meaning that USASF rules govern most All Star gyms, All Star teams,
24

25
     and All Star competitions. USASF uses that control to require that All

26   Star gyms, All Star teams, and All Star team coaches join USASF and
27

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                                        47
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3
     pay annual membership dues to participate in USASF-sanctioned All

4
     Star competitions, primarily those owned and produced by Varsity.
5
          172. In 2007, Varsity founded the nonprofit International Cheer
6

7    Union (“ICU”), which acts as cheerleading’s international governing
8
     body. ICU was created to assist and encourage global development of
9

10   cheerleading. Varsity provided the initial financial support for the
11
     launch of the ICU, similar to how it initially funded USASF.
12

13        173. Prior to 2016, The JAM Brands was an independent event
14
     producer in the United States and Varsity’s chief competitor. The JAM
15

16   Brands produced All Star competitions that included divisions for high
17
     school, college, and All Star teams, as well as recreational divisions. The
18

19   JAM Brands owned Cheerleaders of America (“COA”), a major IEP in
20
     Ohio. The JAM Brands also owned America’s Best, an IEP in Texas.
21

22        174. The JAM Brands produced many of the largest and most
23
     popular All Star competitions in the United States, including The
24

25
     MAJORS and The U.S. Finals, one of the most coveted All Star

26   championships. It also owned All Star competitions that awarded 24 of
27

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                                         48
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3
     the bids to Worlds. Moreover, the Jam Brands produced an All Star

4
     competition branded as “JAMFest Cheer Super Nationals,” at which
5
     over 550 competition All Star teams competed. In addition, The Jam
6

7    Brands was a disruptive and aggressive competitor, introducing new
8
     event concepts that competed directly with Varsity’s All Star
9

10   competitions. Prior to its acquisition by Varsity, The Jam Brands
11
     generally offered free admission to event spectators, many of whom are
12

13   the parents and other family members of the Cheerleaders. Basically,
14
     the Jam Brands competitions were successful and profitable for many
15

16   years with free admission for parents and spectators at their
17
     competition events. Varsity acquired Jam Brands and greedily started
18

19   charging parents and family members (no checks or credit cards, in cash
20
     only) admission fees that have escalated in recent years.
21

22        175. Varsity and The Jam Brands announced their pending
23
     merger in November 2015. In a letter to All-Star gym owners, Varsity
24

25
     assured them, “For you as a customer, nothing will change.” Plaintiffs

26

27

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3
     and their proposed Class saw increases in All Star competition

4
     registration fees and admission fees a year later.
5
          176. In addition, with the acquisition of The Jam Brands, Varsity
6

7    also gained control over The Jam Brands’ board seats on the USASF and
8
     the International All Star Federation (“IASF”), solidifying Varsity’s
9

10   control over the major sanctioning bodies that regulate competitive All
11
     Star cheer and allowing Varsity to use those regulating bodies to
12

13   foreclose competitors from the relevant markets, as discussed herein.
14
          177. One article described it as follows:
15

16     The Alliance’s birth coincided with one of Varsity’s most audacious
17     moves–and for [rival All-Star Apparel manufacturer] Rebel, its
18     most shattering. In October, Varsity–in a deal widely criticized on
19
       industry chat boards–acquired JAM Brands, the second-largest
20
       event producer and by far Rebel’s most important marketing
21
       partner. Just a few months earlier, JAM Brands co-owner Dan
22
       Kessler had explained why his company had chosen Rebel to be its
23
       exclusive uniform sponsor. “They were edgy. The look was real,”
24

25
       said Kessler. “We felt there was some good synergy there.”

26

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          178. That synergy vanished last fall, while Rebel was negotiating

4
     to renew the partnership. “Suddenly those talks just fell apart,” says
5
     Noseff Aldridge. (Note: this is similar to the loss described by Ms. Heidi
6

7    Weber, owner of Plaintiff American Spirit and Cheer Essentials, Inc., in
8
     her affidavit attached to this lawsuit as Exhibit “A”). A few weeks later,
9

10   Varsity and JAM Brands announced their union. JAM Brands ran most
11
     of the high-profile competitions that Varsity doesn’t own. Together, they
12

13   now controlled over 90 percent of the major events, according to
14
     competitors.
15

16        179. Prior to Varsity’s spate of All Star competition acquisitions,
17
     there were still a number of “independent” All Star competition event
18

19   producers, known as “Independent Event Producers” or “IEPs,” left in
20
     the All Star competition market, including: All Star Challenge (later
21

22   acquired by Varsity); Aloha Productions (later acquired by Varsity);
23
     America Cheer Express; American Spirit Championships; Cheer
24

25
     America; Cheer Ltd. (later acquired by Varsity); Cheer Tech; COA Cheer

26   & Dance (later acquired by Varsity); Connecticut Spirit Association;
27

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3
     Golden State Spirit Association (later acquired by Varsity); JAMZ Cheer

4
     and Dance; Mardi Gras Spirit Events (later acquired by Varsity);
5
     Nation’s Best (later acquired by Varsity); Pac West Spirit Group (later
6

7    acquired by Varsity); Spirit Cheer (later acquired by Varsity); Universal
8
     Spirit (later acquired by Varsity); UPA (later acquired by Varsity); US
9

10   Spirit (later acquired by Varsity); Valley of the Sun; WCA; Worldwide
11
     Spirit Association; Rockstar; and Xtreme Spirit. Now, as a result of
12

13   Defendants’ conspiracy and enterprise scheme, which included inter
14
     alia, acquisitions of The JAM Brands and other independent event
15

16   producers, Varsity owns at least twelve of these All Star competitions
17
     and has relegated the rest to the smaller venue status through the
18

19   exclusionary scheme, rendering the remaining potential rivals in the All
20
     Star competition market incapable of challenging Varsity’s dominance.
21

22        a.    Varsity Control Over the Competition Cheerleading
23
                and Scholastic Governing Boards.
24

25
                i.    Competition Cheerleading Governing Board.

26

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          180. Defendant USASF is a governing body that sanctions All

4
     Star Competitions and provides a set of rules and regulations to govern
5
     those events. The organization credentials coaches, certifies safety
6

7    judges, sanctions events, and maintains safety guidelines. The USASF
8
     also produces and sanctions the Worlds All Star Championship. When
9

10   it first established the Worlds, the USASF offered Varsity a no-contest
11
     bid to produce the event, and it did not allow any other IEPs to compete
12

13   for the right to produce the event. While All Star gyms are not
14
     technically required to belong to the USASF, a USASF membership is
15

16   required to compete for the All Star Championships, and so All Star
17
     gyms have no choice but to join the USASF if they wish to be viewed as
18

19   high-quality organizations.
20
          181. Varsity founded the USASF in 2003 and funded this effort
21

22   by extending the USASF a $1.8 million interest-free loan. Varsity
23
     submitted the original trademark application for the marks “U.S. All
24

25
     Star Federation” and “USASF,” listing itself as owner. For at least the

26   first 15 years of its existence, the USASF’s offices were located at
27

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3
     Varsity’s corporate address, a Varsity representative answered the

4
     phone for the USASF, USASF employees were paid directly by Varsity,
5
     and Varsity cashed checks issued to the USASF.
6

7         182. Varsity controls the USASF board of directors. The USASF
8
     board is empowered to set policy for the USASF. The board is composed
9

10   of 13 voting members, one seat each for the seven All Star Competition
11
     producers that started the USASF, the USASF Chairman, a senior
12

13   USASF staff member, and four program owner members, including the
14
     Chairman of Connection. Two USASF board seats are permanent and
15

16   are held by representatives named by the Chairman of the USASF. As
17
     Varsity has acquired more and more of the USASF’s founding event
18

19   producers, it has continued to build its presence on the USASF board.
20
     Since the acquisition of The JAM Brands and Epic Brands, Varsity has
21

22   control over 75% of the USASF board seats.
23
          183. The USASF’s website is located at www.usasf.net, a URL
24

25
     owned by Varsity, although Varsity now seeks to conceal its ownership

26

27

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                                        54
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3
     and control of the URL behind the registration of “PERFECT PRIVACY,

4
     LLC.”
5
             184. In response to a survey administered by “Cheer Industry
6

7    Insights” in 2012, All Star gyms called for “a separation of [USASF]
8
     Board Members affiliated with Varsity Brands to allow for more
9

10   representation among IEPs, large and small gym owners, and other
11
     entities within the industry.” That separation has not occurred. On the
12

13   contrary, as Varsity has acquired additional IEPs, it has gained control
14
     of additional seats on the USASF board. By the time it completed its
15

16   acquisition of Epic Brands in January, 2018, the vast majority of the
17
     USASF board was affiliated with Varsity, more than enough for Varsity
18

19   to dictate USASF policy.
20
          185. Varsity has used its control over the USASF, and conspired
21

22   with the USASF, to foreclose and impair rival IEPs from getting traction
23
     in the Relevant Markets. Varsity used its control of the USASF to limit
24

25
     the number of coveted All Star championship bids that All Star

26   competition producers can award to All Star teams.             The USASF
27

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                                          55
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3
     controls which All Star competitions producers can provide bids to these

4
     high-profile All Star championships. According to USASF rules, only
5
     “Tier 1” All-Star competition producers can offer fully-paid bids to
6

7    Worlds. USASF rules also limit the number of Tier 1 All Star
8
     competition producers to 42. Prior to its acquisition of The JAM Brands
9

10   and Epic Brands, Varsity owned 21 of the 42 All Star competitions
11
     permitted to offer fully-paid bids to Worlds. Today, Varsity owns 33 of
12

13   the 42 Tier 1 All Star competitions. Conversely, only 9 of the 54 IEPs
14
     (Independent Event Producers) credentialed by USASF can offer bids to
15

16   Worlds.
17
          186. In addition, while the number of Tier 1 All Star competitions
18

19   is fixed, the number of bids, fully-paid and otherwise, that any one of
20
     those All Star competition producers may distribute can change. And
21

22   Varsity consistently uses its control of the USASF to increase the
23
     number of bids available at its All Star competitions after Varsity
24

25
     acquires them and they are producing events under the Varsity banner.

26   Varsity distributes well over 80% of all Worlds bids.
27

28
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3
          187. Access to Tier 1 status and the ability to offer fully-paid bids

4
     to Worlds is critical for an IEP to gain sufficient traction in the All Star
5
     competition market and seriously challenge Varsity’s monopoly power.
6

7    That is because the primary goal of most All Star teams is to win All
8
     Star competitions to gain fully-paid or partially-paid bids to All Star
9

10   championships such as Worlds. If an IEP cannot offer such bids, it
11
     cannot attract participation from the most successful All Star gyms,
12

13   which will reduce the IEP’s appeal, reach, and prestige.
14
          188. Furthermore, the USASF will not let an All Star competition
15

16   producer hold a bid-qualifying All Star competition within 500 miles of
17
     another bid-qualifying competition. This makes it nearly impossible for
18

19   an IEP to expand and compete further with Varsity. The ultimate result
20
     is that the only way for an All Star competition producer to gain
21

22   additional bids to Worlds is to acquire an existing All Star competition
23
     producer that controls such bids. Since Varsity’s acquisition of Epic
24

25
     Brands in January 2018, there are few such producers left outside of

26   Varsity’s hands. Additionally, the USASF requires Independent Event
27

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3
     Producers to submit to them their list of competitions which allows

4
     Varsity to know ahead of time where the competitions of their
5
     competitors will be held so they can then book a Varsity competition in
6

7    the same area and squeeze out the competition.
8
          189. All Varsity-sponsored events are USASF-sanctioned. To
9

10   enter All Star teams in USASF-sanctioned events, All Star gyms, All
11
     Star cheerleaders, and All Star team coaches must become USASF
12

13   members and pay annual membership dues to USASF. These
14
     membership dues are USASF's primary revenue source, and it collected
15

16   over $5 million in membership dues in 2017.
17
          190. Though Defendant USASF does not contractually bar its
18

19   members from participating in non-USASF events, it does require its
20
     member gyms to report their full competition schedules for the year,
21

22   including USASF-sanctioned and non-sanctioned, Varsity and IEP.
23
     USASF shares this information with Varsity, and both Varsity and
24

25
     USASF representatives then pressure the All Star gyms to go only to

26   USASF-sanctioned events, 40% of which are produced by Varsity.
27

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3
          191. USASF also copyrighted its All Star competition rules in

4
     2016, and it forbids All Star competition producers that have not paid
5
     USASF membership dues from using those rules at their events. Since
6

7    Varsity’s dominance in the All Star competition market ensures that all
8
     or almost all All Star teams will fill the majority of their schedules with
9

10   USASF-sanctioned events, USASF’s refusal to allow non-USASF IEPs
11
     to use the same rules provides a strong disincentive for All Star teams
12

13   to include such IEPs in their schedules. Doing so would require All Star
14
     teams to learn and compete by a different set of rules for a small share
15

16   of their yearly competitions. USASF aggressively enforces this scheme
17
     through the threat of copyright litigation.
18

19        192. The USASF also uses its competition rules to assist Varsity
20
     in maintaining and enhancing its dominance in the All Star apparel
21

22   market. USASF rules governing apparel are drafted to favor the newest
23
     All Star apparel designs being marketed and sold by Varsity.
24

25
          193. Bids to Worlds and The Summit are also not awarded at non-

26   USASF events, further discouraging All Star teams from putting these
27

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3
     IEPs on their limited competition schedules. In any event, there are not

4
     enough IEPs for an All Star team to plan a full season around non-
5
     USASF events without attending Varsity (and thus USASF-sanctioned)
6

7    events. Therefore, IEP’s such as Plaintiff Rockstar Championships,
8
     LLC, suffer and incur damages in the form of lost opportunities and lost
9

10   profits.
11
           194. USASF also requires member All Star gyms to have and
12

13   report their liability insurance. USASF encourages All Star gyms to
14
     purchase insurance from a particular insurance carrier—K&K
15

16   Insurance—and, on occasion, will deny All Star gyms’ attempts to use
17
     other insurance carriers. While K&K is not affiliated with Varsity, K&K
18

19   both (i) requires All Star gyms to be USASF members before it will
20
     provide them coverage, and (ii) charges significantly higher annual
21

22   premiums to All Star gyms (passed down and charged to the parents of
23
     these cheerleaders) that enter their All Star teams in even a single All
24

25
     Star competition that is not sanctioned by USASF.

26

27

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                                         60
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3
           195. All Star gyms pay K&K between $19 and $24.55 per All Star

4
     cheerleader, but those rates increase to $34 per cheerleader if the All
5
     Star gym enters its All-Star team in even a single competition that is
6

7    not sanctioned by USASF. For one small All Star gym, that amounts to
8
     a $2,300 difference in annual insurance premiums. This insurance
9

10   arrangement dissuades All Star gyms from attending non-USASF-
11
     sanctioned All Star competitions. Most All Star gyms have K&K
12

13   insurance, and they are afraid that scheduling non-USASF-sanctioned
14
     All Star competitions will lead either to higher premiums or to being
15

16   considered out of compliance and thus having a coverage lapse.
17
           196. Varsity also takes steps to prevent any rival sanctioning
18

19   organizations     from   creating   non-Varsity    controlled    All     Star
20
     championships that could undermine Varsity’s dominance. For
21

22   example, in October 2011, the USASF and IASF issued a joint letter to
23
     member All Star gyms, All Star competitions, and All Star team coaches
24

25
     stating that it is:

26

27

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                                         61
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3
       “the policy of the USASF/IASF that no athlete, coach, judge, or

4      official is permitted to participate in any way in any event that
5      claims to be a World or International Championship, other than
6      the ICU [International Cheer Union] World Championships for
7      National teams, or the USASF/IASF Worlds for All Star teams.
8
       This   stipulation    applies   to    any   regional   international
9
       championship affiliated with an organization claiming to operate
10
       a World Championship, other than the ICU and USASF/IASF.
11
       Failure to comply with this rule is grounds for disqualifying any
12
       athlete, coach, judge, or official from participating in the ICU and
13

14
       USASF/IASF World Championships.”

15        197. The USASF membership rules specify that members are not
16
     permitted to affiliate, partner with, or own non-USASF sanctioned
17

18
     IEPs, and that every All Star gym that wishes to attend USASF events

19
     must become a USASF member. Thus, all gyms that attend at least one
20
     USASF event per year agree to these exclusionary terms.
21

22              ii.   Competition Scholastic Governing Board
23
          198. Varsity has established undue influence over each of the
24

25   state’s governing boards which are            (American Association of
26
     Cheerleading Coaches and Administrators), USA Federation for Sport
27

28
                                        62
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2

3
     Cheering, d/b/a USA Cheer (originally AACCA which merged with USA

4
     Cheer and regulates both high school and college) and the NFHS
5
     (National Federation of State High School Associations is the body that
6

7    writes the rules of competition for most high school sports in the United
8
     States).
9

10        199. Varsity established USA Cheer in 2007 as the national
11
     governing body for competitive sport cheer and scholastic cheer. The
12

13   USASF rule body is under the umbrella of the USA Cheer organization.
14
     Again, the majority of the board members and staff are affiliated and/or
15

16   employed by Varsity.
17
          200. The USASF and USA Cheer have formulated the rules that
18

19   govern the competitions run by the three major cheerleading
20
     associations which are for-profit companies owned by Varsity.           The
21

22   three major cheerleading associations owned by Varsity are the
23
     National Cheerleading Association (NCA, which holds the All Star
24

25
     national competition in Dallas, Texas each year where over 1,200 teams

26   compete, and the college nationals in Daytona, Florida each year),
27

28
                                        63
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3
     Universal Cheerleading Association (UCA, holds high school and college

4
     competitions and the college nationals held each year in Orlando,
5
     Florida at Disney World), and United Spirit Association (USA, which
6

7    holds camps and competitions on the west coast).
8
          201. Each individual state also has their own state organization
9

10   that agrees to abide by the NFHS rules and/or USA Cheer rules. For
11
     instance, in Oklahoma you would have the governing body called the
12

13   OSSAA and under them the state board called OCA (Oklahoma Coaches
14
     Association, which is coaches for all sports) and you would also have
15

16   board members for OCCA (Oklahoma Cheer Coaches Association, which
17
     is coaches just for school cheerleaders). These scholastic organizational
18

19   boards govern cheerleading in the school state and school national
20
     championships in addition to ruling over all things cheer, including
21

22   apparel, cheer merchandise and camps.
23
          202. Each of these scholastic organizations hold yearly coach’s
24

25
     conventions and it is the only time that all the school coaches and

26   athletic directors are together in one venue.       This is the greatest
27

28
                                        64
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2

3
     opportunity for an IEP company, apparel company or a camp company

4
     to display, vend and to sell their merchandise and services. However,
5
     Varsity has established exclusionary rules through their undue
6

7    influence over these scholastic boards to exclude any non-Varsity
8
     company from attending as a vendor at these state conventions
9

10   resulting in Varsity having a captive customer marketing monopoly.
11
     Varsity accomplished this monopoly conspiracy by giving considerable
12

13   cash to be the major sponsor of most state conventions. They also exert
14
     control and allegiance to Varsity by providing members of boards with
15

16   perks such as taking board members to Disney World for what appears
17
     to be nothing more than a paid vacation, with all expenses paid
18

19   including travel, accommodations and Disney Park passes.
20
          203. Varsity, through their control of USA Cheer, has passed a
21

22   rule that any school team that wants to compete in either the State
23
     finals competition or the National competition, as a prerequisite to
24

25
     qualification to participate in those competitions, the school team must

26   attend a Varsity camp. This rule assures allegiance to Varsity and
27

28
                                        65
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3
     eliminates or severally reduces most camp competitors from being able

4
     to hold such camps. This rule has severally reduced the market to the
5
     detriment of camp competitors such as Plaintiff Jeff & Craig Cheer,
6

7    LLC, d/b/a Jeff and Craig Camps, who have suffered damages in the
8
     form of lost customers and lost profits.
9

10        204. Varsity has also influenced state boards to restrict members
11
     on the boards by eliminating much of Varsity’s competitors from being
12

13   able to hold membership positions on the boards.         This conspiracy
14
     eliminates any undue influence that a board member that is also
15

16   involved with a Varsity competitor from holding a board membership
17
     position. For example in Oklahoma, back in 2014, many of the board
18

19   members on the OCCA (Oklahoma Cheer Coaches Association) were
20
     independent coaches hired by schools to coach their school cheerleading
21

22   teams. Many of these independent coaches were also employees or
23
     owners of businesses that compete with Varsity. Varsity then went to
24

25
     the OCA (Oklahoma Coaches Association) and requested that they

26   implement a new rule to prevent any independent coach from being a
27

28
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3
     board member on the OCCA board. The rule was changed at that time

4
     to require that all OCCA board members must be coaches who are
5
     employees of the school and not an independent outside coach hired by
6

7    the school just to coach cheerleading. This rule change eliminated 75%
8
     of the then existing OCCA board members, including the President-
9

10   Elect Ms. Heidi Weber (owner of American Spirit and Cheer Essentials,
11
     Inc., Plaintiff and apparel competitor of Varsity) from being able to serve
12

13   her term as President of the organization.
14
          205. Varsity’s exclusionary scheme has successfully impaired and
15

16   foreclosed a substantial share of each of the scholastic and competitive
17
     cheer markets from competitors. The exclusionary scheme has also
18

19   created significant entry barriers for would be competitors in the
20
     scholastic and competitive cheer markets. As a direct and proximate
21

22   result, Varsity collectively controls approximately 90% of the All Star
23
     Competition Market, 80% of the All Star Apparel Market, and over 92%
24

25
     of the scholastic market in the United States.

26

27

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3
          206. Varsity has foreclosed from access to competitors in the

4
     competitive cheer markets, the most significant All Star gyms in its
5
     exclusionary network agreements and in their exclusionary sales
6

7    agreements. Varsity’s “Network” gyms collectively comprise a critical
8
     source of top-level talent and fees for its All Star competitions and the
9

10   most important distribution channel for its competition All Star
11
     apparel. The remainder of the All Star gyms are offered the Family
12

13   Plan, which as set forth above, impairs the ability of actual and potential
14
     rivals in both relevant markets to get access to the vast majority of
15

16   customers.
17
          207. These exclusionary agreements, together with the other
18

19   conduct alleged to be part of the exclusionary scheme, have blocked and
20
     impaired rivals from marketing and selling to the vast majority of the
21

22   participants and customers in both the scholastic and competitive cheer
23
     markets. Varsity, together with USASF and USA Cheer, has also
24

25
     foreclosed competition in both the scholastic and competitive cheer

26   markets by, inter alia, restricting access to the ability to award coveted
27

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3
     bids to Worlds and other All Star championship bids, requiring

4
     adherence to restrictive rules and exclusionary insurance requirements,
5
     requiring mandatory attendance with Varsity camps and other conduct
6

7    alleged to be part of the exclusionary scheme in this Complaint.
8
          208. As a direct and proximate result of Varsity’s exclusionary
9

10   scheme, as alleged herein, Plaintiffs and their Proposed Classes have
11
     suffered antitrust injury in that they paid artificially inflated prices for
12

13   goods and services that they purchased directly from Varsity in both the
14
     scholastic and competitive cheer markets during the class period. The
15

16   full amount of such damages Plaintiffs and their Proposed Classes
17
     suffered will be calculated after discovery and upon proof at trial.
18

19        209. The conduct comprising Varsity’s exclusionary scheme is
20
     continuing and so are the injuries and damages suffered by Plaintiffs
21

22   and the Class members.
23
          210. Defendants’      exclusionary     scheme     has   substantially
24

25
     foreclosed competition in both the scholastic and competitive cheer

26   markets and allowed Varsity to obtain, maintain, and/or enhance
27

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                                         69
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3
     monopoly power in both of these markets. As a result of the exclusionary

4
     scheme, prices in both the scholastic and the competitive cheer markets
5
     have been artificially inflated above competitive levels, output in each
6

7    of the relevant markets has fallen below competitive levels, and
8
     Plaintiffs and the class members have less choice in both relevant
9

10   markets.
11
          211. Due to the exclusionary scheme, Varsity has raised prices
12

13   associated with All Star competitions and for All Star apparel,
14
     insurance, travel and lodging, above competitive levels. For instance,
15

16   participation fees for Varsity All Star competitions have increased
17
     substantially over the class period. Varsity also began charging
18

19   spectator admission fees to JAM Brands events in 2016. Varsity has
20
     steadily increased Varsity sponsored and owned competition admission
21

22   fees during the class period. In events such as JAMFest Bam JAM,
23
     admission fees for adults have doubled between late 2016 and 2019, and
24

25
     each parent now pays a $20 spectator fee to watch his or her child

26   perform a two minute and thirty second routine.
27

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3
          212. Varsity has further exploited its monopoly power by steadily

4
     increasing the number of “Stay-to-Play” events. At a “Stay-to-Play”
5
     event, each All-Star team member is required to book lodging and stay
6

7    at a Varsity-approved “Housing Partner” hotel. These “Stay-to-Play”
8
     hotels generally charge substantially more than the competitive rate
9

10   charged to other guests, since the All Star cheerleaders are a captive
11
     audience. Varsity makes significant supra-competitive profits from its
12

13   Stay-to-Play program by either working with the hotels to pass a mark-
14
     up to the All Star team members and then taking a kick-back, or using
15

16   Stay-to-Play to get discounted or free venues for hosting its All Star
17
     competitions. If an All Star competition participant stays at a hotel
18

19   outside the “Stay-to-Play” consortium, that participant’s All Star team
20
     is barred from participating in the All Star competition. If Varsity learns
21

22   of this rule violation after the All Star competition, it fines the All Star
23
     gym that fielded that participant’s All Star team for the violation.
24

25

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3
          213. Varsity also used the monopoly power to gain and maintain

4
     through the scheme to charge supra-competitive prices to Plaintiffs and
5
     the Proposed Classes for All Star apparel.
6

7         214. The exclusionary scheme has eliminated and impaired rivals
8
     in the scholastic and competitive cheer markets and blocked the entry
9

10   and growth of other potential rivals. As a result, the number, size, and
11
     significance of All Star apparel manufacturers, cheer camps and All
12

13   Star independent event competition producers (IEP’s) have been
14
     reduced, and fewer people participate as All Star cheerleaders with
15

16   these non-Varsity companies. For instance, at least 35 All Star gyms
17
     closed in 2019 as compared to a normal rate of 5 to 10 such closings in
18

19   previous years.
20
          215. During the class period, Varsity shut down many of its own
21

22   All Star competitions in addition to eliminating rival IEPs and these
23
     rivals’ events. There are no legitimate procompetitive justifications or
24

25
     efficiencies for the conduct alleged as part of the exclusionary scheme.

26        2.    Competition All Star Apparel
27

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3
          216. All Star Apparel is an important aspect of All Star

4
     competitions. USASF rules govern every detail of what All Star
5
     cheerleaders may wear in a competition. Sneakers, like those Varsity
6

7    manufactures and sells, are required. Skirts, briefs, and shorts must
8
     meet inseam guidelines. Exposed midriffs are forbidden for certain age
9

10   groups, and tops must be secured over at least one shoulder. Bows
11
     cannot be “excessive size,” jewelry is forbidden, and makeup must be
12

13   “uniform and appropriate.” Props such as pom poms, megaphones, and
14
     flags, also available for purchase from Varsity, are generally allowed in
15

16   scholastic cheer but are excluded in competition cheer, and must be pre-
17
     approved by the USASF rules for competitive cheer.
18

19        217. Because of Varsity’s control over the USASF, this gives
20
     Varsity an unfair competitive advantage over their apparel competitors.
21

22   For instance, if the USASF should make any rule change that would
23
     affect uniforms or sneakers (example hypothetical rule change: young
24

25
     cheerleaders will now be allowed to show their midriff section in

26   cheerleading uniforms), Varsity would know about this coming change
27

28
                                        73
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3
     at least nine (9) months ahead of their competitors, could design the

4
     uniforms and prepare their catalog with these changes, and release
5
     their catalog when the USASF announced the rule change.             Their
6

7    competitors would then be caught flat footed and have to quickly play
8
     catch up to their disadvantage and lost sales.
9

10        218. Varsity entered the All Star apparel market in 1988. Since
11
     then, Varsity has, through its exclusionary scheme, gained an 80%
12

13   share of the All Star apparel market. As part of the scheme, Varsity has
14
     used its monopoly power in the All Star competition market to: (a) cause
15

16   All Star gyms to enter into exclusive dealing agreements and rebate
17
     programs–including Varsity’s Family Plan and Network Agreements–
18

19   which make buying from non-Varsity All Star apparel competitors
20
     prohibitively expensive; (b) exclude All Star apparel competitors from
21

22   the merchandise showrooms at their All Star competitions; and (c)
23
     acquire, and in many cases dissolve, their All Star apparel competitors.
24

25
          219. As one recent article states, “Thanks to an aggressive

26   campaign of acquisitions, rebate plans that make it expensive for gym
27

28
                                        74
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3
     owners to switch suppliers, and other strategies, Varsity Spirit, the

4
     corporation’s cheer division, commands north of 80 percent of the
5
     uniform market, as estimated by competitors. The company also wields
6

7    outsize influence in virtually every aspect of the industry, including the
8
     camps and most important, the competitions, which also serve as
9

10   merchandise showrooms for apparel vendors.”
11
     B.   Markets Under Varsity’s Control
12

13        220. Varsity Brands, through its network of subsidiaries BSN
14
     Sports (sporting goods and equipment), Varsity Spirit (all things
15

16   cheerleading), Stanbury (band, color guard), Varsity Intropia Tours,
17
     LLC, Herff Jones (rings, yearbooks, graduation announcements with
18

19   caps and gowns) and their Impact Program (construction and re-
20
     branding of school image and mascot) has closed out all competition
21

22   from their competitors in the scholastic market and severely limited
23
     their competitors in the competition All Star market.
24

25
          221. Varsity admits to this scholastic monopoly and brags about

26   it in their marketing. For instance, within the last year Varsity Spirit
27

28
                                        75
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3
     sent a marketing material to all school coaches stating “WE ARE

4
     SPIRIT…..We fuel the passion and spirit found in every high school
5
     across America, on every sideline, in every halftime show, of every
6

7    season. We are Varsity and we are spirit” (see Exhibit “B”).
8

9

10

11
            1.   The Cheer Competition Market
12

13          222. Now to defining the “Cheer Competition Market.” The Cheer
14
     Competition Market comprises the market for competitive cheerleading.
15

16   This    market   consists   of   revenue   derived   from    competitions,
17
     choreography, music, uniforms, sneakers, insurance, camps, and
18

19   admission fees to competitions. The geographic reach of this market is
20
     nationwide. Today, the Cheer Competition Market generates multiple
21

22   millions in annual revenues. Of those revenues, Varsity reaps more
23
     than 80% of the market, a substantial share. In competition for that
24

25
     revenue are competitors including Plaintiffs. The competition for the

26

27

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3
     Cheer Competition Market is substantially lessened, however, due to

4
     Varsity’s monopolistic activity.
5
          223. To maintain control over the Cheer Competition Market,
6

7    Varsity bought up most of their competition, developed monopolistic
8
     tactics, such as exists in their insurance plans, required attendance at
9
     one of their camps as a prerequisite for attending one of their
10

11
     competitions, have control over the end of season bids, control through

12   their rebate “family plan” programs and with other similar type activity.
13
     Those techniques, negatively affecting hundreds of thousands of
14
     purchasers, involved both use of the U.S. Mail service and transmission
15

16   of signals via wire, radio, or television, including Varsity TV (which they
17   own), in interstate commerce. Indeed, Varsity used the U.S. Mail and
18
     such electronic communications to further their conspiracy to
19
     monopolize. In time, Varsity’s techniques proved effective.
20

21         2.   The College, High School, Junior High School, and
22              Recreational Cheer Market
23
          224. It also entered the “College, High School, and Junior High
24

25
     School Cheer Market.” This Market comprises the market for college,

26   high school, junior high school and recreational sideline cheerleading
27

28
                                         77
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1

2

3
     along with regional, state, and national competitions in the field of

4    cheerleading.       This market consists of revenue derived from
5
     competitions,     choreography,    uniforms,    pom poms,      cheer bows,
6
     megaphones, water bottles, sneakers, backpacks, insurance, camps,
7

8    coaches      educational/certification     seminars,   and   admission     to
9    competition fees. The geographic reach of this market is nationwide.
10
     Today, the College, High School, Junior High School and Recreational
11
     Cheer Market generates multiple millions in annual revenues. Of those
12

13   revenues, Varsity reaps more than 90% of the market, a substantial
14   share.     In competition for that revenue are competitors including
15
     Plaintiffs. The competition for the cheer competition market is
16

17
     substantially lessened, however, due to Varsity’s monopolistic activity.

18        225. To maintain control over the College, High School, and
19
     Junior High School and Recreational             Market, Varsity developed
20
     monopolistic tactics, required use of their choreography services along
21

22   with attendance at one of their camps as a prerequisite for attending
23   most of the state or national competitions, and other similar type
24
     activity. In all, hundreds of schools—comprising hundreds of thousands
25
     of affected purchasers—throughout the nation entered into such
26

27   exclusive dealing contracts with Varsity. As a showing of proof, a few
28
                                           78
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2

3
     examples of such exclusive school contracts were those entered into

4    between Varsity and Tulane University with a multi-year agreement;
5
     Wissahickon School District in Ambler, Pa.; Largo High School in
6
     Holiday, Fl.; Okmulgee Public Schools; Chisholm Public Schools in Enid,
7

8    Ok.; Akins High School in Austin, Tx.; and El Toro High School in
9    Memphis, Tn.
10
          226. Moreover, Varsity’s techniques involved both use of the U.S.
11
     Mail service and transmission of signals via wire, radio, or television,
12

13   including Varsity TV (which they own), in interstate commerce. Indeed,
14   Varsity used the U.S. Mail and such electronic communications to
15
     further their conspiracy to monopolize. Over time, Varsity’s techniques
16

17
     proved effective.

18

19
          3.    The College, High School, and Junior High School
20
                Athletic Equipment Market
21

22        227. Similarly, Varsity entered the “College, High School, and
23   Junior High School Athletic Equipment Market.” The College, High
24
     School, and Junior High School Athletic Equipment Market comprises
25
     the market of all sports equipment and uniforms associated with
26

27   football, basketball, volleyball, track, wrestling, lacrosse, cheerleading,
28
                                         79
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3
     soccer, and rebranding of the schools’ image and mascot called the

4    Impact Program by Varsity. The geographic reach of this market is
5
     nationwide. Today, the College, High School, Junior High School and
6
     Recreational Athletic Equipment Market generates multimillions in
7

8    annual revenues. Of those revenues, Varsity reaps more than 90%, a
9    substantial share.   In competition for that revenue are competitors
10
     including American Spirit and Cheer Essentials, Inc. and Rockstar
11
     Championships, LLC. The competition for the College, High School,
12

13   Junior High School and Recreational Athletic Equipment Market is
14   substantially lessened, however, due to Varsity’s monopolistic activity.
15
          228. To maintain control over the College, High School, Junior
16

17
     High School and Recreational Athletic Equipment Market, Varsity

18   offers perks such as free school rebranding, one-stop-shop services, in
19
     exchange for school commitments and agreements to purchase
20
     exclusively from Varsity, which bars their competitors from those
21

22   schools. In all, hundreds of schools, comprising hundreds of thousands
23   of affected purchasers, throughout the nation entered into such
24
     exclusive dealing contracts with Varsity.
25
          229. In order to further a school’s commitment to Varsity,
26

27   Defendants came up with the Varsity School Spirit Awards program
28
                                        80
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3
     which is nothing but a glorified and conspired sales payola type activity

4    (Payola has come to mean the payment of a bribe in commerce and in
5
     law to say or do a certain thing against the rules of law, but more
6
     specifically a commercial bribe). Varsity claims that this program is to
7

8    honor the very best of America’s high schools by recognizing outstanding
9    schools, organizations and individuals that go above and beyond to build
10
     school pride, student engagement and community spirit.          This was
11
     Varsity’s way to butter up, commit and reward the school principals and
12

13   school athletic directors who do the most business with Varsity by giving
14   them a free, all-expense paid vacation to Disney World and to give out
15
     awards to these school representatives as a way to obtain their loyalty
16

17
     and to seal their commitment to Varsity. The recipients of these awards

18   ($100,000.00 in awards each year per their web site) are nominated by
19
     their Varsity sales representative and are voted on and selected by the
20
     Varsity marketing department.
21

22        230. Moreover, Varsity’s techniques involved both use of the U.S.
23   Mail service and transmission of signals via wire, radio, or television in
24
     interstate commerce. Indeed, Varsity used the U.S. Mail and such
25
     electronic communications to further their conspiracy to monopolize.
26

27   Over time, Varsity’s techniques proved effective.
28
                                        81
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3
          4.    The College, High School, and Junior High School

4               Band Uniforms Market
5
          231. In its quest for more, Varsity entered the College, High
6
     School, and Junior High School Band Uniforms Market. The geographic
7

8    reach of this market is nationwide. Today, the College, High School,
9    and Junior High School Band Uniform Market generates multimillions
10
     in annual revenues. Of those revenues, Defendant Stanbury reaps more
11
     than 90%, a substantial share of the market. In competition for that
12

13   revenue are competitors including the Plaintiff, American Spirit and
14   Cheer Essentials, Inc. The competition for the College, High School, and
15
     Junior High School Band Uniform Market is substantially lessened,
16

17
     however, due to Varsity’s monopolistic activity.

18        232. To maintain control over the College, High School, and
19
     Junior High School Band Uniform Market, Varsity offers perks such as
20
     free school rebranding, one-stop-shop services, in exchange for school
21

22   commitments and agreements to purchase exclusively from Varsity,
23   which bars their competitors from those schools. In all, hundreds of
24
     schools throughout the nation, comprising hundreds of thousands of
25
     affected purchasers, entered into such exclusive dealing contracts with
26

27   Varsity. Moreover, Varsity’s techniques involved both use of the U.S.
28
                                        82
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3
     Mail service and transmission of signals via wire, radio, or television in

4    interstate commerce. Indeed, Varsity used the U.S. Mail and such
5
     electronic communications to further their conspiracy to monopolize.
6
     Over time, Varsity’s techniques again proved effective.
7

8          5.    The College, High School, and Junior High School
9                Graduation Regalia Market
10
           233. Further, Varsity entered the “College, High School, and
11
     Junior High School Graduation Regalia Market” through its purchase
12

13   of Herff Jones, LLC. The College, High School, and Junior High School
14   Graduation Regalia Market comprises the market for school rings,
15
     championship rings, yearbooks, caps and gowns, and graduation
16

17
     announcements. The geographic reach of this market is nationwide.

18   Today, the College, High School, and Junior High School Graduation
19
     Regalia Market generates multimillions in annual revenues. Of those
20
     revenues, Varsity reaps more than 90%, a substantial share.             In
21

22   competition for that revenue are U.S. competitors. The competition for
23   the College, High School, and Junior High School Graduation Regalia
24
     Market is substantially lessened, however, due to Varsity’s monopolistic
25
     activity.
26

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              234. To maintain control over the College, High School, and

4    Junior High School Graduation Regalia Market, Varsity offers perks
5
     such as free school rebranding and one-stop-shop services in exchange
6
     for school commitments and agreements to purchase exclusively from
7

8    Varsity, which bars their competitors from those schools.             In all,
9    hundreds of schools, comprising hundreds of thousands of affected
10
     purchasers, throughout the nation entered into such exclusive dealing
11
     contracts with Varsity. Moreover, Varsity’s techniques involved both
12

13   use of the U.S. Mail service and transmission of signals via wire, radio,
14   or television in interstate commerce. Indeed, Varsity used the U.S. Mail
15
     and such electronic communications to further their conspiracy to
16

17
     monopolize. In time, Varsity’s techniques, following the model, did the

18   trick.
19
              6.   The Cheer Camp Market
20
              235. Finally (for the scope of this lawsuit) Varsity developed and
21

22   maintained control of the “Cheer Camp Market.” The Cheer Camp
23   Market comprises the market for both competitive and scholastic
24
     cheerleaders.      The geographic reach of this market is nationwide.
25
     Varsity has made it a requirement for scholastic cheerleading teams to
26

27   attend one of their summer camps as a prerequisite to competing in
28
                                           84
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3
     most school state and national championships. In addition, Varsity has

4    their own division of choreographers called Pure Choreography, and
5
     these choreographers know ahead of time during these camps about any
6
     scoring changes that Varsity has made on their scoring sheets utilized
7

8    at competitions which gives the Varsity choreographers an unfair
9    advantage over the independent choreographers. Today, the Cheer
10
     Camp Market generates multimillions in annual revenues. Of those
11
     revenues, Varsity reaps more than 60%, and over 90% of the residential
12

13   overnight camp business, a substantial share. In competition for that
14   revenue are competing camp providers including Plaintiff Jeff and Craig
15
     Camps. The competition for the Cheer Camp Market is substantially
16

17
     lessened, however, due to Varsity’s monopolistic activity.

18        236. To maintain control over the scholastic market, Varsity has
19
     schools commit through their exclusionary sales agreements, which
20
     bars their competitors from those schools. In all, tens of thousands of
21

22   affected purchasers throughout the nation, in the form of parents of
23   students and taxpayers paying for Varsity Brands equipment, apparel
24
     and merchandise, have been negatively affected. Moreover, Varsity’s
25
     techniques involved both use of the U.S. Mail service and transmission
26

27   of signals via wire, radio, or television in interstate commerce. Indeed,
28
                                        85
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3
     Varsity used the U.S. Mail and such electronic communications to

4    further their conspiracy to monopolize. In time, Varsity’s techniques,
5
     following the model, performed as planned.
6

7

8    C.   How Varsity Monopolizes
9         237. For example, the scholastic business consists of all things
10
     that a college, high school or junior high school would need for athletics,
11

12   cheerleading, band or graduation regalia.        Items that schools and
13
     parents purchase in this scholastic class are uniforms and sports
14

15   equipment needed for football, basketball, wrestling, soccer, golf,
16
     baseball, track, lacrosse, softball, or cheerleading.     This scholastic
17

18   business also includes band and color guard uniforms along with
19
     graduation paraphernalia such as graduation announcements, class
20

21   rings, yearbooks along with caps and gowns. Varsity has cornered this
22
     market through Varsity Brands, Varsity Spirit, BSN, Stanbury, Herff
23

24
     Jones and its Impact Program sales techniques of exclusionary contracts

25   with schools and its one-stop-shop sales pitches. Varsity currently has
26
     a 94% share of this scholastic market and through their monopolistic
27

28
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3
     maneuvers has locked out most competition for these types of sales.

4
          238. Similarly, consider competitive cheerleading. Competitive
5
     cheerleading has emerged into a multi-billion-dollar sport with over four
6

7    (4) million cheerleading participants across the United States. Varsity
8
     puts on over 800 cheerleading competitions across the United States
9

10   annually.   These Varsity competition events attract over 900,000
11
     cheerleading participants from independent gyms and schools. Jeff
12

13   Webb was an Oklahoma College cheerleader and founded Varsity in
14
     1974 (History above). Varsity has, through its anti-competitive scheme
15

16   in both the competitive cheerleading and the scholastic market
17
     (described herein above), implemented business decisions favorable to
18

19   Varsity in combination with its sponsorship and control over the USASF,
20
     AACCA, USA Cheer, ICU and NFHS (governing boards for competitive
21

22   and scholastic cheerleading) causing them to gain and maintain
23
     significant control of every aspect of the scholastic and competitive
24

25
     cheerleading market while blocking or downplaying their competitors’

26   ability to compete in these markets.
27

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                                        87
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          239. Cheerleading is a costly activity for the parents of these

4
     cheerleaders.   A single season of competitive cheer costs a parent
5
     between $3,000 and $7,000 per cheerleader and approximately $900.00
6

7    to $1,200.00 per scholastic cheerleader (scholastic cheerleaders usually
8
     only compete in regional, state and national competitions whereas the
9

10   competitive cheerleader competes in six or more competitions).
11
          During the school season the scholastic cheerleader is involved in
12

13   sideline cheerleading for their school teams but they also develop
14
     routines for regional, state and national competition that involves
15

16   tumbling, dancing and pyramids. All Star cheerleaders are associated
17
     with a privately owned gym that has several competitive cheerleading
18

19   teams in different classes or levels of cheerleading, and compete with
20
     other gyms at local, state, national and world competitions with
21

22   tumbling, dancing and pyramid skills.
23
          240. Plaintiffs claim that the conduct described herein violated,
24

25
     and continues to violate, Section 2 of the Sherman Antitrust Act, and

26   that it and the members of the proposed Class were and continue to be
27

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3
     injured by paying artificially inflated prices directly to Varsity for

4
     cheerleading and scholastic apparel and other merchandise. Plaintiffs
5
     seek equitable relief to stop Defendants’ continuing anti-competitive
6

7    conduct and to recover money damages for injuries in the form of paying
8
     artificially inflated prices to Varsity incurred as a result of Defendants’
9

10   anti-competitive conduct alleged herein.
11
          241. Over the past 4 years and previously, Varsity has, in
12

13   combination with USASF, along with their undue influence and control
14
     over the AACCA, USA Cheer, ICU and the NFHS (National Federation
15

16   of High Schools) acquired, enhanced and maintained monopoly power in
17
     both the competitive cheerleading market and the scholastic apparel
18

19   and other school merchandise market conducted in the United States
20
     through an unlawful scheme consisting of exploiting its substantial
21

22   market power in the relevant markets to, without limitation:
23
          (a)   impair and then buy up any actual or potential rivals that
24

25
          could possibly threaten Varsity’s dominance in the relevant

26        markets, including acquisitions of Varsity’s biggest competitors
27

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                                         89
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3
     (and many of its smaller rivals) as well as several apparel,

4
     independent event producers and camp competitors ;
5
     (b)   deploy its monopoly power in the primary competitive cheer
6

7    market to impose exclusionary agreements or terms on gyms,
8
     causing these gyms to agree, on their own behalf and on behalf of
9

10   their members and parents, to patronize Varsity exclusively
11
     through exclusive sales agreements or making a gym commit to all
12

13   Varsity related business activities in the primary competitive
14
     cheer market as well as in the scholastic market.
15

16         In the competitive cheer market these agreements or terms
17
     (i) directly require the largest, highest sale volume competition All
18

19   Star gyms with the top cheerleaders and teams, necessary to put
20
     on successful All Star competitions, to purchase competition cheer
21

22   apparel exclusively from Varsity and to fill the limited number of
23
     events comprising their competition season schedule with Varsity
24

25
     sponsored and run competition All Star competitions, to the

26   exclusion of other independent event           producer All Star
27

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3
          competitions and their competition All Star apparel companies;

4
          and (ii) condition the avoidance of paying penalty prices for goods
5
          and services in the competitive All Star competitions and
6

7         competition All Star apparel markets on exclusive or near
8
          exclusive patronage of Varsity in both the competitive and
9

10        scholastic markets; and
11
          (c)   Varsity leverages its control of the cheerleading governing
12

13        bodies, including USASF, AACCA, ICU, USA Cheer and the
14
          NFHS to impair actual and potential rivals directly in the primary
15

16        market and indirectly in the ancillary market, forcing many
17
          potential rivals out of business or relegating them to a minor
18

19        status in the markets.
20
          242. Varsity continued a series of acquisitions that, together with
21

22   other conduct alleged herein, allowed it to dominate the competitive All
23
     Star cheer and scholastic market. Varsity’s systematic and continuing
24

25
     acquisition of competitive cheer and scholastic apparel and merchandise

26   rivals, combined with one or more of the other anti-competitive conduct
27

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3
     alleged herein, has allowed it to acquire, maintain and enhance control

4
     over all major championships of consequence including the Cheersport
5
     competition held yearly in Atlanta, Georgia, the Cheerleading World
6

7    Championship held at Disney World in Florida known simply as
8
     “Worlds”, The Summit and the U.S. Finals.
9

10        243. Varsity has used its control of the competitive cheer and
11
     scholastic markets to acquire, enhance, and maintain monopoly power
12

13   in the markets by impairing and/or excluding actual and potential
14
     apparel, camp and independent event production rivals through the
15

16   exclusionary scheme alleged herein.        The competitive cheer and
17
     scholastic competitions and conventions are, in part, market-dominant
18

19   trade shows, and Varsity forbids or severely restricts its apparel, camp
20
     and independent event production rivals from displaying wares in those
21

22   competition and scholastic convention events limiting the vendors
23
     exclusively to Varsity owned vendors.
24

25
          244. It is pointed out that there are limited venue arenas that can

26   hold a cheerleading competition due to the height requirement for the
27

28
                                        92
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3
     safety of the cheerleading athletes. Varsity has made a habit, when they

4
     book a venue arena to include a restriction or non-compete clause that
5
     restricts the arena from renting to any cheerleading competition
6

7    independent event producer during the competition season which limits
8
     the number of event venues available for any of Varsity’s competing
9

10   independent event producers (IEP’s).
11
          245. Moreover, Varsity rewards competition gyms that purchase
12

13   Varsity’s apparel and merchandise for their competition All Star
14
     cheerleaders to use in Varsity’s market dominant competitions, with a
15

16   monetary rebate program given to each gym on a yearly basis. Varsity
17
     enters into network agreements with competition gyms requiring the
18

19   gym to purchase Varsity apparel, attending their camps and
20
     competitions.
21

22        246. This rebate program gives gyms points for purchasing
23
     everything Varsity related such as apparel, camps, insurance, travel
24

25
     accommodations, and competitions. The more a competition gym buys

26   from Varsity, the more Varsity points the gym gets which correlates into
27

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3
     the amount of the financial rebate check that the competition gym gets

4
     on a yearly basis. This rebate check (payola kickback) is delivered to
5
     the competition gym during the slow months in the gym business which
6

7    is between the end of the previous competition year schedule and the
8
     beginning of the next season. This rebate program is given to the gym
9

10   and not to the parents of the cheerleaders, which encourages loyalty
11
     from the gyms to Varsity to continue to purchase their products and
12

13   services. Again, if it looks like a bribe, smells like a bribe, walks like a
14
     bribe…..then it must be a payola type payment or bribe (kickback) to
15

16   gain an upper hand in the commercial market.
17
          247. Additionally, given that Varsity’s competitions are the
18

19   dominant events and comprise the majority of the All Star teams
20
     schedule, and that it would be prohibitively expensive for most
21

22   participants to purchase multiple competition uniforms for a season,
23
     Varsity’s rule over competing sellers of competition cheer All Star
24

25
     apparel has a powerful exclusionary effect. Varsity’s conduct and rules

26   block rivals from both a key marketing channel which comprises the
27

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                                         94
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3
     main, if not only reason, competition cheerleading All Star gyms buy All

4
     Star apparel in the first place, for use at All Star competitions.
5
          248. Further, Varsity employs two types of exclusionary contracts
6

7    with competition cheerleading All Star gyms, which it calls the
8
     “Network Agreement” and the “Family Plan,” to maintain its dominance
9

10   in the All Star competition market and to acquire, enhance, and
11
     maintain monopoly power in the All Star apparel market.              Varsity
12

13   focuses its exclusionary conduct on All Star gyms because these gyms
14
     recruit, train, organize, and maintain All Star competitive cheerleading
15

16   teams. The All Star gyms also select the All Star competitions and
17
     camps to attend and make purchasing decisions regarding the All Star
18

19   apparel to be used by their competitive cheerleading teams. As such,
20
     All Star gyms are a key input for producing a successful All Star
21

22   competition and the primary and necessary distribution channel for
23
     competitive cheerleading All Star apparel.
24

25
          249. Varsity imposes its most exclusionary contracts, called

26   Network Agreements, on the big-money and most prestigious All Star
27

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                                         95
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3
     gyms whose attendance is critical to putting on successful All Star

4
     competitions and a key distribution channel for All Star apparel. Under
5
     these Network Agreements, the All Star gyms are required to commit to
6

7    near exclusive attendance at Varsity sponsored All Star competitions
8
     and camps with complete exclusive patronage by the gyms and their
9

10   team members of All Star apparel. Varsity also imposes restrictive
11
     terms on all of the other All Star gyms through the Family Plan, which
12

13   makes access to non-penalty prices on All Star competitions and All Star
14
     apparel contingent on All Star gyms attending Varsity sponsored
15

16   choreography camps and All Star competitions for the vast majority of
17
     their seasons, and purchasing the vast majority of their and their
18

19   members’ All Star apparel requirements from Varsity.
20
          250. During the four year class period (in this petition), Varsity
21

22   collectively controlled approximately 90% of the All Star competition
23
     market, 80% of the All Star apparel market, and 92% of the scholastic
24

25
     market. Varsity has used its dominant market power in the relevant

26   markets to substantially foreclose competition in all of these markets
27

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3
     and thereby maintain and enhance its dominance in all of these markets.

4
     In so doing, Varsity’s exclusionary scheme has led to reduced output,
5
     supra-competitive prices, and reduced choice in all of these relevant
6

7    markets. During the period relevant to this case, for instance, the
8
     number and variety of All Star competitions have fallen, the number of
9

10   rivals in both relevant markets has dropped, and prices in these
11
     markets have risen.
12

13        251. Varsity has also concocted a similar exclusionary scheme in
14
     the scholastic market. Varsity has purchased all of the companies
15

16   needed to corner the scholastic athletic, cheer, band and graduation
17
     merchandise market. They then, through their sales staff, approach
18

19   schools with their “one-stop-shop” approach informing schools that
20
     instead of dealing with several different companies to purchase
21

22   scholastic athletic and band uniforms or graduation merchandise, they
23
     can purchase everything from Varsity and they will offer a re-branding
24

25
     of the school image/mascot/scoreboards in exchange for an exclusive

26   sales agreement for a period of years, thus blocking the market from
27

28
                                        97
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3
     Varsity’s competitors.      Hundreds, if not thousands of schools have

4
     entered into these exclusionary school agreements with Varsity before
5
     and during the class period.
6

7         252. During the four year class period (in this petition), Varsity
8
     collectively controlled approximately 92% of the scholastic competition
9

10   market. Varsity has used its dominant market power in the relevant
11
     scholastic market to substantially foreclose competition in the scholastic
12

13   market and thereby maintains a dominance in the scholastic market.
14
     In so doing, Varsity’s exclusionary scheme has led to reduced output,
15

16   supra competitive prices, and reduced choice in the scholastic market.
17
     During the period relevant to this case, for instance, the number of
18

19   rivals in the scholastic relevant market has dropped, and prices have
20
     risen.
21

22        253. Today, Varsity describes itself as “the worldwide leader in
23
     cheerleading...apparel, educational camps and competitions” and a
24

25
     leader in uniform innovation, as well as educational camps, clinics and

26   competitions, impacting more than a million athletes each year.
27

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                                            98
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3
     Varsity’s exclusionary enterprise scheme, as alleged herein, is

4
     intentional and systematic. As Varsity’s founder, Defendant Jeff Webb
5
     stated in a recent interview:
6

7         “[W]e were positioning ourselves to provide all the products
8         and services that the affinity group [All-Star Cheer
          participants] utilized. Not only did we have the number one
9
          position in those three segments [competitions, apparel, and
10        camps], but then we developed a cross-marketing model where we
11        could promote [the segments within each other] and to be honest
          with you, it took off.”
12

13        254. As a direct and proximate result of Varsity’s unlawful and
14
     anti-competitive   Exclusionary Scheme, Plaintiffs and the Proposed
15

16   Classes (defined below) have paid higher prices for competitions,
17
     apparel, cheerleading camps, athletic equipment, and related goods and
18

19   services bought directly from Varsity than they would have paid in a
20
     competitive marketplace absent the exclusionary scheme, and have
21

22   thereby suffered, and continue to suffer, antitrust injury.
23

24

25

26   D.   Scope of Varsity’s Monopoly Power
27

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                                        99
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3
          1.    Monopolistic Market Shares

4         255. Thus, Varsity tightened control over the markets defined
5
     above, collectively “the relevant markets.”       Indeed, it employed the
6
     unfair methods describe above to unreasonably restrain trade,
7

8    substantially lessen competition, and tended to produce monopolies in
9    the relevant markets with the following results:
10
                (a)   Cheer Competitions Market, comprises the nationwide
11
                      market for competitive cheerleading.
12

13                    Varsity controls over 80% of this market.
14              (b)   College, High School, Recreational and Junior High
15
                      School Cheer Market, comprises the nationwide
16

17
                      market for college, high school, recreational and junior

18                    high school sideline cheerleading along with regional,
19
                      state, and national competitions in the field of
20
                      cheerleading.
21

22                    Varsity controls over 90% of this market.
23              (c)   The College, High School, and Junior High School
24
                      Athletic Equipment Market comprises the nationwide
25
                      market   of     all   sports   equipment   and   uniforms
26

27                    associated with football, basketball, volleyball, track,
28
                                            100
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3
                wrestling,         lacrosse,    cheerleading,     soccer,   and

4               rebranding of the schools’ image and mascot called the
5
                Impact Program by Varsity.
6
                Varsity controls over 90% of this market.
7

8         (d)   The College, High School, and Junior High School
9               Band Uniforms Market comprises the nationwide
10
                market for college, high school, and junior high school
11
                marching band uniforms.
12

13              Varsity controls over 90% of this market.
14        (e)   The College, High School, and Junior High School
15
                Graduation Regalia Market comprises the nationwide
16

17
                market for school rings, yearbooks, caps and gowns,

18              and graduation announcements.
19
                Varsity controls over 90% of this market.
20
          (f)   The Cheer Camp Market comprises the nationwide
21

22              market       for      both     competitive      and   scholastic
23              cheerleaders.
24
                Varsity controls over 60% of this market and 90% of all
25
                residential overnight camps.
26

27   2.   Period of Control
28
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3
          256. For the purposes of simplicity, and even though Varsity’s

4    activity spans many decades, the Plaintiffs and their Classes sue only
5
     for damages incurred in the relevant markets over the “Class Period”
6
     from four years from the filing of this complaint until the continuing
7

8    Exclusionary Scheme alleged herein ends.
9         3.   Varsity’s Exclusionary Practices Tending Towards
10
               Monopoly
11
          257. As outlined above, Defendants’ “Exclusionary Practices”
12

13   which unfairly impacted trade include:
14        1.   Plaintiff American Spirit and Cheer Essentials, Inc. has
15
               been excluded from many college, high school, recreational
16

17
               and junior high schools due to the exclusive sales agreements

18             between Varsity and hundreds of schools. The exclusivity
19
               business model and exclusive sales contracts that Varsity
20
               has implemented with gyms and schools has impacted their
21

22             business and other non Varsity apparel companies through
23             lost sales and lost markets otherwise available in the apparel
24
               customer market. See Affidavit of Heidi Weber attached
25
               hereto as Exhibit “A”.
26

27

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1

2

3
     2.   Rockstar Championships, LLC is an independent event

4         producer [IEP] who has lost business and had the
5
          competition event business curtailed due to being excluded
6
          from the competitive market through Varsity and USASF’s
7

8         monopolistic actions of requiring gyms and schools to only
9         attend Varsity sponsored competitions through their reward
10
          “bids” type program of business.
11
     3.   Jeff & Craig Cheer, LLC, d/b/a Jeff and Craig Camps have
12

13        been excluded and lost profits through Varsity’s monopoly
14        policy of requiring school cheerleaders to attend only Varsity
15
          sponsored camps as a prerequisite to going to the state or
16

17
          national championships.       They have also lost business

18        through Varsity’s monopoly policy of requiring cheerleading
19
          teams from competition gyms to attend only a Varsity
20
          sponsored camp as a prerequisite to competing in the Varsity
21

22        sponsored competitions [Worlds, The Summit, and the U.S.
23        Finals].
24
     4.   The Plaintiff Ashley Haygood is the mother of a cheerleader
25
          who is involved in both competitive All Star and school
26

27        cheerleading.     Ms. Haygood pays for competitive and
28
                                  103
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1

2

3
                scholastic cheerleading apparel, competition fees, travel

4               accommodations, insurance, camps and merchandise needed
5
                for her daughter’s cheerleading.           Due to Varsity’s
6
                monopolistic activities, she has paid enhanced prices for the
7

8               cheerleading services, apparel and merchandise and receives
9               absolutely no rebate benefit that Varsity pays to the
10
                competition gyms.
11
          4.    Harm to Plaintiffs
12

13        258. During the Class Period, Varsity’s exclusionary practices
14   and monopolistic share of the relevant markets enabled it to set prices
15
     uncontrolled by the competitive conditions which would exist in a free
16

17
     market. Moreover, Varsity’s monopolistic share of the relevant markets

18   allowed   Varsity   to   exclude   actual   and   potential   competitors.
19
     Consequently, the Plaintiffs and their Proposed Classes are due
20
     remuneration for their losses.
21

22        259. The same harm suffered by Plaintiff American Spirit and
23   Cheer Essentials, Inc. and the Apparel Class was suffered by all apparel
24
     companies competing with Varsity in the market. The amount of
25
     remuneration due each Plaintiff in this class may be established by
26

27

28
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3
     awarding this class of plaintiffs an amount equivalent to 20% of

4    Varsity’s apparel sales [net profits after expenses] for the Class Period.
5
          260. The     same     harm     suffered    by   Plaintiff   Rockstar
6
     Championships, LLC was suffered by all independent production
7

8    companies who put on competition cheerleading events. The amount of
9    remuneration due each Plaintiff in this class may be established by
10
     awarding this class of plaintiffs an amount equivalent to 20% of
11
     Varsity’s competition sales [net profits after expenses] for the Class
12

13   Period.
14        261. The same harm suffered by Plaintiff Jeff & Craig Cheer,
15
     LLC, d/b/a Jeff and Craig Camps was suffered by all independent camp
16

17
     production companies who put on cheer camps.             The amount of

18   remuneration due each Plaintiff may be established by awarding this
19
     class of plaintiffs an amount equivalent to 20% of Varsity’s camp sales
20
     [net profits after expenses] for the Class Period.
21

22        262. The same harm suffered by Plaintiff Ashley Haygood was
23   suffered by any parent who has purchased competition entry fees,
24
     competition   admission    fees,   purchased    travel   accommodations,
25
     insurance, purchased both competitive and scholastic cheerleading
26

27   uniforms, paid for cheerleading camps, and scholastic apparel or
28
                                        105
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3
     merchandise, marketed by Varsity at Varsity’s monopolistic escalated

4    prices. The amount of remuneration due each Plaintiff class member
5
     may be established by awarding each class member a monetary amount
6
     calculated at $250.00-$1,000.00, based on whether it’s competitive cheer
7

8    or scholastic apparel or merchandise, as produced in the evidence, for
9    the difference between the competitive price from a non-Varsity
10
     competitor that sells these items or services and the inflated
11
     monopolistic costs charged by Varsity.
12

13

14

15
                 V.   INTERSTATE TRADE AND COMMERCE
16

17
           263. Varsity’s anticompetitive and unlawful conduct as alleged

18   herein has taken place in and affected the continuous flow of interstate
19
     trade and commerce in the United States.            Indeed, Varsity has
20
     negatively impacted interstate trade by:
21

22         (a)   advertising;
23         (b)   selling; and
24
           (c)   foreclosing competition
25
     in the relevant markets throughout the United States, including in this
26

27   District.
28
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3
          264. The exclusionary practices Varsity used to foreclose

4
     competition in the relevant markets affected billions of dollars of
5
     commerce. Indeed, during the class period, Plaintiffs and their classes
6

7    collectively paid hundreds of millions of dollars directly to Varsity for
8
     purchases of goods and/or services in the relevant markets. In doing so,
9

10   Plaintiffs and their classes paid supra-competitive prices; prices higher
11
     than those that would exist in a market where Varsity had not
12

13   foreclosed competition. Thus, Varsity inflicted antitrust injury.
14

15

16                               VI.   CLAIMS
17
          265. The acts of the enterprise and conspiracy alleged against
18

19   Defendants in this Complaint were authorized, ordered, or done by their
20
     officers, agents, employees, or representatives, including Defendant Jeff
21

22   Webb during the class period, while actively engaged in the
23
     management and operation of Defendants’ business or affairs.
24

25
          266. Various persons and/or firms not named as defendants

26   herein may have participated as co-conspirators in the exclusionary
27

28
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3
     scheme alleged herein and may have performed acts and made

4
     statements in furtherance thereof. Plaintiff reserves the right to name
5
     some or all of these persons as defendants at a later date.
6

7         267. At all times relevant to this Complaint, Varsity through its
8
     influence upon the USASF and USA Cheer, conspired to facilitate
9

10   Varsity’s monopolization of the relevant markets.
11
          268. Whenever in this Complaint reference is made to any act,
12

13   deed, or transaction of any corporation, the allegation means that the
14
     corporation engaged in the act, deed, or transaction by or through its
15

16   officers, directors, agents, employees, or representatives while they
17
     were actively engaged in the management,            direction, control, or
18

19   transaction of the corporation’s business or affairs.
20
          269. Each defendant acted as the principal, agent, or joint
21

22   venturer of, or for, other defendants with respect to the acts, violations,
23
     and common course of conduct alleged by Plaintiffs.
24

25
          270. Individuals alleged to have engaged in misconduct in

26   violation of the federal laws listed herein are alleged to have done so on
27

28
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3
     behalf of all members of their corporate family, i.e., Varsity. Individuals

4
     within the companies and customers did not know or did not distinguish
5
     between the corporate affiliations of different individuals. Varsity
6

7    Brands, Varsity Spirit, Stanbury, Herff Jones, Bain Capital, Varsity
8
     Brands Holding, Varsity Intropia Tours, and Varsity Spirit Fashion all
9

10   affirmatively and collectively represent themselves as one corporate
11
     family, rather than separate subsidiaries and parents. For instance, and
12

13   without limitation, the Varsity Brands website states “WE ARE . . .
14
     Varsity Spirit.”
15

16        271. Plaintiffs and their classes incorporate by reference all of the
17
     preceding and ensuing paragraphs as if fully alleged herein, and charge
18

19   Defendants with the following:
20

21

22   A.   Creating Illegal Restraints of Trade in Violation of 15
23        U.S.C. § 1
24        272. Defendants made contracts in restraint of trade among the
25   several States.
26

27

28
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3
     B.   Monopoly Making in Violation of 15 U.S.C. § 2

4         273. Defendants monopolized or attempted to monopolize or
5    conspired with another person to monopolize part of the trade or
6    commerce among the several States.
7

8
     C.   Making of Agreements Not to Use the Goods of Competitors
9
          in Violation of 15 U.S.C. § 14
10
          274. Defendants in the course of being engaged in commerce,
11
     made sales or contracts for sales of goods, wares, merchandise, or other
12
     commodities within the United States (or fixed a price charged therefor
13

14
     or discount from or rebate upon such price) on the condition, agreement,

15   or understanding that the purchaser thereof shall not use or deal in the
16   goods wares merchandise or other commodities of a competitor or
17   competitors of the seller with the probable effect of substantially
18   lessening competition or tending to create a monopoly in the following
19
     lines of commerce:
20

21
                (a)   The nationwide market for competitive cheerleading
22
                      including competitions;
23

24              (b)   The nationwide market for recreational, college, high
25
                      school, and junior high school sideline cheerleading
26

27

28
                                       110
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2

3
                      along with regional, state, and national competitions in

4                     the field of cheerleading;
5
                (c)   The nationwide market of all sports equipment and
6
                      uniforms    associated       with   football,   basketball,
7

8                     volleyball, track, wrestling, lacrosse, cheerleading, and
9                     soccer;
10
                (d)   The nationwide market for college, high school, and
11
                      junior high school marching band and color guard
12

13                    uniforms;
14              (e)   The nationwide market for school rings, yearbooks,
15
                      caps and gowns, and graduation announcements; and
16

17
                (f)   The nationwide market for cheer camps.

18   By doing so, Defendants foreclosed competition on a substantial share
19   of the relevant markets.
20

21
     D.   Violation of the Georgia Racketeer Influenced and Corrupt
22
          Organizations Act
23
          275. Varsity Brands, LLC, BSN Sports, LLC, Varsity Spirit LLC,
24
     Stanbury, LLC, Varsity Intropia Tours, LLC, Herff Jones, LLC, Bain
25
     Capital, Inc., Charlesbank Capital Partners, LLC, Varsity Brands
26

27
     Holding Co., Inc., and Jeff Webb, both individually and collectively

28
                                        111
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3
     engaged in a pattern of at least two acts of racketeering activity as

4    defined by O.C.G.A. §§ 16-14-3(4) and (5).     Through that continuing
5    pattern as demonstrated above—or with proceeds derived therefrom—
6    each of those Defendants did or conspired to acquire or maintain an
7    interest in or control of property. Regarding the acts of racketeering
8
     activity, each of those Defendants committed the predicate offenses of
9
     (1) mail fraud in violation of 18 U.S.C. § 1341; and (2) wire fraud in
10
     violation of 18 U.S.C. § 1343 within a ten-year time span. Indeed, each
11
     of those Defendants used the mails and wire transmissions to devise,
12
     advertise, negotiate, and obtain exclusive dealing agreements before,
13

14
     during, and continuing through the Class Period while misrepresenting,

15   concealing, or omitting that its counterparties would pay lower prices if
16   the market were competitive.         Thus, each of those Defendants
17   intentionally defrauded competing firms of fair competition during the
18   Class Period in accordance with their above-described monopolistic
19
     enterprise. Moreover, each of those Defendants used the mails and wire
20
     transmissions to intentionally and fraudulently extract supra-
21
     competitive prices from scholastic purchasers during the Class Period
22
     in accordance with their above-described monopolistic enterprise.
23
     Simultaneously, Plaintiffs in purchasing positions relied to their
24

25
     detriment on misrepresentations and/or omissions each of the

26   Defendants     made     regarding     their   monopolistic    enterprise.
27

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3
     Consequently, each Defendant violated the Georgia RICO statute,

4    particularly O.C.G.A. §§ 16-14-4(b) and (c).
5

6    E.   Violation of the Federal Racketeer Influenced and Corrupt
7         Organizations Act
8
          276. Varsity Brands, LLC, BSN Sports, LLC, Varsity Spirit LLC,
9
     Stanbury, LLC, Varsity Intropia Tours, LLC, Herff Jones, LLC, Bain
10
     Capital, Inc., Charlesbank Capital Partners, LLC, Varsity Brands
11
     Holding Co., Inc., and Jeff Webb, both individually and collectively
12
     engaged in a pattern of at least two acts of racketeering activity as
13

14
     defined by 18 U.S.C. §§ 1961(c) and (d) within a ten-year time span.

15   Through that continuing pattern as demonstrated above—or with
16   proceeds derived therefrom—each of those Defendants did or conspired
17   to acquire or maintain an interest in or control of property. Regarding
18   the acts of racketeering activity, each of those Defendants committed
19
     the predicate offenses of (1) mail fraud in violation of 18 U.S.C. § 1341;
20
     and (2) wire fraud in violation of 18 U.S.C. § 1343. Indeed, each of those
21
     Defendants used the mails and wire transmissions to devise, advertise,
22
     negotiate, and obtain exclusive dealing agreements before, during, and
23
     continuing through the Class Period while misrepresenting, concealing,
24

25
     or omitting that its counterparties would pay supra-competitive prices

26   if the market were competitive.       Thus, each of those Defendants
27   intentionally defrauded competing firms of fair competition during the
28
                                        113
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3
     Class Period in accordance with their above-described monopolistic

4    enterprise. Moreover, each of those Defendants used the mails and wire
5    transmissions to intentionally and fraudulently extract supra-
6    competitive prices from scholastic purchasers during the Class Period
7    in accordance with their above-described monopolistic enterprise.
8
     Simultaneously, Plaintiffs in purchasing positions relied to their
9
     detriment on misrepresentations and/or omissions each of the
10
     Defendants     made    regarding     their   monopolistic     enterprise.
11
     Consequently, each Defendant violated the Federal RICO statute,
12
     particularly 18 U.S.C. §§ 1961(b), 1961(c), and 1961(d).
13

14
          277. Consequently, Plaintiffs and their proposed classes are due

15   remuneration in accordance with law.
16

17

18

19
                         VII. CLASS ALLEGATIONS
20
          278. One or more members of a class may sue or be sued as
21

22
     representative parties on behalf of all members only if:

23        (1)   the class is so numerous that joinder of all members is
24
                impracticable;
25
          (2)   there are questions of law or fact common to the class;
26

27

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3
          (3)   the claims or defenses of the representative parties are

4               typical of the claims or defenses of the class; and
5
          (4)   the representative parties will fairly and adequately protect
6
                the interests of the class.
7

8
          279. The Plaintiffs bring this action on behalf of themselves and
9

10   as proposed class representatives in a class action under Rules 23(a),
11
     (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, seeking
12

13   equitable and injunctive relief, as well as damages, on behalf of the
14
     following classes:
15

16              (a)   Independent Event Production Class—All natural
17                    persons or entities in the United States that have
18
                      directly   suffered     due   to   Varsity’s   monopolistic
19
                      activities as hereinabove described, who have suffered
20

21                    in the form of a loss of the share of the market in the
22
                      business of competition event productions during the
23
                      class period for the last four years prior to the date of
24

25
                      the filing of this complaint. This Plaintiff Class has lost

26

27

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3
                the equivalent of a 20% share of the business of

4               competition event productions.
5
          (b)   Competitive, College, High School, and Junior High
6
                School Parent Class—All natural persons or entities in
7

8               the United States that directly or indirectly paid
9               Varsity or any wholly or partially owned Varsity
10
                subsidiary during the class period for the last four
11
                years prior to the date of the filing of this complaint
12

13              that have paid Varsity enhanced fees for uniforms,
14              competition fees, event admission fees, camp fees,
15
                insurance, travel and accommodation fees, school
16

17
                paraphernalia     such    as   class   rings,   yearbooks,

18              graduation     caps      and   gowns     or     graduation
19
                announcements, or merchandise. These enhanced fees
20
                will be determined through the evidence at trial by
21

22              comparing competitors’ merchandise or services and
23              pricing to those charged by Varsity.
24
          (c)   The Cheer Camp Market Class—All natural persons or
25
                entities in the United States that lost a share of the
26

27              scholastic and competition cheerleading camp market
28
                                  116
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3
                that   have    directly   suffered   due   to   Varsity’s

4               monopolistic activities as hereinabove described, who
5
                have suffered in the form of a loss of the share of the
6
                market in the business of scholastic and competition
7

8               cheer camp during the class period for the last four
9               years prior to the date of the filing of this complaint.
10
                This Plaintiff Class has lost the equivalent of a 20%
11
                share of the business of the scholastic and competition
12

13              cheer camp market.
14        (d)   Apparel, Athletic Equipment and Merchandise Class
15
                [both competitive and scholastic]—All natural persons
16

17
                or entities in the United States that have directly

18              suffered due to Varsity’s monopolistic activities as
19
                hereinabove described, who have suffered in the form
20
                of a loss of the share of the market in the business of
21

22              apparel, athletic equipment, and cheer merchandise
23              during the class period for the last four years prior to
24
                the date of the filing of this complaint. This Plaintiff
25
                Class has lost the equivalent of a 20% share of the
26

27

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3
                      business of apparel, athletic equipment, and cheer

4                     merchandise sales.
5
          280. Excluded from each Class are Defendants, their parent
6

7
     companies, subsidiaries, affiliates, franchisees, officers, executives, and

8
     employees; any entity that is or has been partially or wholly owned by
9
     one or more Defendants or their respective subsidiaries; States and
10

11   their subdivisions, agencies and instrumentalities; and any judicial
12
     officer presiding over this matter and his or her staff.
13

14        281. While Plaintiffs do not know the exact number of members
15
     in each class, there are hundreds—or hundreds of thousands—of
16

17   members in each class. Moreover, those members are geographically
18
     dispersed throughout the United States.
19

20        282. Common questions of law and fact exist as to all members of
21
     each class. Defendants’ anticompetitive exclusionary scheme commonly
22

23   implicated and was generally applicable to all the members of each
24
     class, thereby making class-wide adjudication and relief appropriate.
25

26

27

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3
     Such questions of law and fact common to each class include, but are not

4
     limited to:
5
          (a)      whether their corresponding markets as defined above are
6

7                  the appropriate and relevant markets for analyzing the
8
                   claims in this case;
9

10        (b)      whether the relevant geographic market is the United
11
                   States;
12

13        (c)      whether Varsity possesses monopoly power in the relevant
14
                   markets;
15

16        (d)      whether Varsity willfully acquired, maintained, and/or
17
                   enhanced monopoly power in the relevant markets;
18

19        (e)      whether Varsity engaged in overt acts furthering their
20
                   conspiracy to maintain and enhance Varsity’s dominance in
21

22                 the relevant markets;
23
          (f)      whether Varsity engaged in unlawful exclusionary conduct
24

25
                   to impair the opportunities of actual or potential rivals in the

26

27

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                                           119
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3
           relevant   markets and thereby        foreclosed   substantial

4
           competition in those markets;
5
     (g)   whether Varsity’s exclusionary scheme maintained or
6

7          enhanced Varsity’s monopoly power in one or more of the
8
           relevant markets;
9

10   (h)   whether Varsity’s exclusionary scheme violated Section 2 of
11
           the Sherman Act, 15 U.S.C. § 2;
12

13   (i)   whether Varsity’s exclusionary scheme had anticompetitive
14
           effects in one or more of the relevant markets;
15

16   (j)   whether Varsity’s actions alleged herein caused injury to
17
           Plaintiff and the class members by causing them to pay
18

19         artificially inflated prices in the relevant markets during the
20
           class period;
21

22   (k)   whether Varsity and USASF and/or USA Cheer conspired to
23
           assist Varsity in maintaining and/or enhancing dominance
24

25
           in the relevant markets;

26

27

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3
          (l)   whether Varsity and USASF and/or USA Cheer engaged in

4
                overt acts furthering their conspiracy to maintain and
5
                enhance Varsity's dominance in the relevant markets;
6

7         (m)   the appropriate measure of damages; and
8
          (n)   the propriety of declaratory and injunctive relief.
9

10        283. The members of each class are so numerous and
11
     geographically dispersed that joinder of all members is impracticable.
12

13   Although the precise number of such individuals, organizations, and
14
     businesses is currently unknown, Plaintiff believes that the number of
15

16   members in each class numbers in the hundreds to hundreds of
17
     thousands. Moreover, the members of each class reside or are located
18

19   throughout the United States, including in this District.
20
          284. Each class representative’s claims are typical of those of the
21

22   class it seeks to represent. Each class representative, like all other class
23
     members, has been injured by Varsity’s exclusionary scheme and
24

25
     Varsity’s illegally obtained monopoly power that resulted in artificially

26   inflated prices in the relevant markets.
27

28
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3
          285. Each class representative is a more than adequate

4
     representative of the class, and its chosen class counsel (the
5
     undersigned)    are   more   than    adequate   attorneys.   Each   class
6

7    representative has the incentive, and is committed to prosecuting this
8
     action, for the benefit of their corresponding classes. No class
9

10   representative has an interest that is antagonistic to those of its
11
     corresponding class. Each class representative retained counsel highly
12

13   experienced in antitrust and class action litigation.
14
          286. This action is maintainable as a class action under Fed. R.
15

16   Civ. P. 23(b)(2) because Varsity acted and refused to act on grounds that
17
     apply generally to each class, and final injunctive and declaratory relief
18

19   is appropriate, and necessary, with respect to each class as a whole.
20
          287. This action is maintainable as a class action under Fed. R.
21

22   Civ. P. 23(b)(3) because questions of law and fact common to each class
23
     predominate over any questions affecting only individual class
24

25
     members. A class action is superior to other available methods for the

26

27

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                                         122
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3
     fair and efficient adjudication of this controversy. Prosecution as a class

4
     action will eliminate the possibility of repetitious litigation.
5
          288. Treatment of this case as a class action will permit a large
6

7    number of similarly situated persons, organizations, and businesses to
8
     adjudicate their common claims in a single forum simultaneously,
9

10   efficiently, and without the duplication of effort and expense that
11
     numerous individual actions would engender. Class treatment will also
12

13   permit the adjudication of relatively small claims by many class
14
     members who otherwise could not afford to litigate an antitrust claim
15

16   such as that asserted in this Complaint. No class representative is
17
     aware of any difficulties that would render this case unmanageable.
18

19        289. Plaintiffs and their corresponding classes have all suffered,
20
     and will continue to suffer, antitrust injury and damages as a result of
21

22   Varsity’s exclusionary scheme and monopoly power in the relevant
23
     markets.
24

25
          290. Plaintiffs are not suing as part of this case, on behalf of

26   themselves or any proposed class member, to enforce any rights or
27

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                                         123
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3
     provisions in its particular Varsity contracts. Similarly, no Plaintiff in

4
     this matter claims, as part of this case, on behalf of itself or any proposed
5
     class member, that its Varsity contract(s), standing alone, violate the
6

7    antitrust laws. Rather, Plaintiffs allege that Varsity contracts taken
8
     together form part of Varsity’s exclusionary scheme and monopolistic
9

10   enterprise to impair actual or potential rivals and enhance its monopoly
11
     power in the relevant markets. Cumulatively, the exclusionary scheme
12

13   and monopolistic enterprise deprived Varsity’s would-be rivals of access
14
     to critical inputs and to customers in the relevant markets, and thereby
15

16   foreclosed competition, and caused anticompetitive effects in the
17
     relevant markets.
18

19

20

21

22                       VIII. JURY TRIAL DEMANDED
23
           291. Pursuant to Fed. R. Civ. P. 38(c), Plaintiff demands a trial
24

25
     by jury on all issues so triable.

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                                         124
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                                 IX.     PRAYER

4
          292. WHEREFORE, Plaintiffs on behalf of themselves and the
5
     proposed classes respectfully ask the Court for a judgment that:
6

7
          A.    Certifies an Independent Event Production Class pursuant
8
                to Fed. R. Civ. P. 23(a), 23(b)(2) and (b)(3) and appoints
9

10
                David Owens with Rockstar Championships, LLC and his

11              undersigned attorneys as class representative and class
12              counsel, respectively;
13        B.    Certifies a Competitive, Recreational, College, High School
14              or Junior High School student Parent Class pursuant to Fed.
15              R. Civ. P. 23(a), 23(b)(2) and (b)(3) and appoints Ashley
16
                Haygood    and    her    undersigned    attorneys   as   class
17
                representative and class counsel, respectively;
18
          C.    Certifies an Apparel, Athletic Equipment and Merchandise
19
                Class pursuant to Fed. R. Civ. P. 23(a), 23(b)(2) and (b)(3)
20
                and appoints Heidi Weber with American Spirit and Cheer
21

22              Essentials, Inc., and her undersigned attorneys as class
23              representative and class counsel, respectively;
24        D.    Certifies a Cheer Camp Market Class pursuant to Fed. R.
25              Civ. P. 23(a), 23(b)(2) and (b)(3) and appoints Craig
26              Hallmark with Jeff & Craig Cheer, LLC, d/b/a Jeff and Craig
27

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                                         125
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3
          Camps     and    their    undersigned    attorneys   as   class

4         representatives and class counsel, respectively;
5    E.   Finds
6         1.    Plaintiffs are more than adequate representatives of
7               their classes, and their chosen class counsel [the
8
                undersigned] are more than adequate attorneys;
9
          2.    Plaintiffs have the incentive, and are committed to
10
                prosecuting this action, for the benefit of their
11
                respective class;
12
          3.    Plaintiffs have no interests that are antagonistic to
13

14
                those of the classes; and

15        4.    Plaintiffs have retained counsel experienced in
16              antitrust and class action litigation;
17   F.   Awards Plaintiffs and their Classes treble the amount of
18        damages Defendants caused pursuant to 15 U.S.C. § 15(a),
19
          O.C.G.A. § 16-14-6 et seq., and 18 U.S.C. §§ 1961 et seq .;
20
     G.   Awards Plaintiffs and their Classes the cost of this lawsuit
21
          pursuant to 15 U.S.C. § 15(a);
22
     H.   Awards Plaintiffs and their Classes Attorney’s fees pursuant
23
          to 15 U.S.C. § 15(a);
24

25
     I.   Awards Plaintiffs and their Classes simple interest on actual

26        damages pursuant to 15 U.S.C. § 15(a) for the period
27        beginning on the date of service of this pleading and ending
28
                                    126
     Case 1:20-cv-03088-SCJ Document 1 Filed 07/24/20 Page 131 of 132



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3
          on the date of judgment but only if Defendants unnecessarily

4         delay resolution of this action;
5    J.   Orders, in accordance with O.C.G.A. § 16-14-6(a)
6         1.    Reasonable restrictions upon the future activities or
7               investments of each Defendant, including, but not
8
                limited to, prohibiting any defendant from engaging in
9
                the same type of endeavor as the enterprise in which it
10
                was engaged in violation of O.C.G.A. § 16-14-4;
11
          2.    The dissolution or reorganization of one or more
12
                corporate Defendants if appropriate, including the
13

14
                USASF and USA Cheer;

15        3.    The suspension or revocation of any license, permit, or
16              prior approval granted to any Defendant by any agency
17              of the state of Georgia;
18        4.    The forfeiture of the charter of any Defendant
19
                organized under the laws of this state or the revocation
20
                of a certificate authorizing a foreign corporation to
21
                conduct business within the state of Georgia;
22
     K.   Orders such equitable and injunctive relief as is necessary to
23
          correct for the anticompetitive market effects caused by
24

25
          Defendants’ unlawful conduct;

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                                  127
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3
         L.    Enters judgment against Defendants, holding them jointly

4              and severally liable for the antitrust violations alleged
5              herein;
6        M.    Directs such further relief as it may deem right and just; and
7        N.    Orders Plaintiffs be entitled to a trial by jury.
8

9

10
                           Respectfully submitted,
11

12
                                             /s/ Robert A Falanga
13
                                             Robert A. Falanga, Esq.
14                                           Georgia Bar No. 254400
15

16
                                             /s/ Kobelah S. Bennah
17                                           Kobelah S. Bennah
18
                                             Georgia Bar No. 378113

19

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